Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 1 of 17   PageID 55




                  EXHIBIT B
Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 2 of 17                             PageID 56


 Htqo<              Ocvvjgy!Egekn
 Vq<                Lcemuqp-!Nctt{
 Ee<                Djctcvj!Ukpij=!T{cp!Fggn{
 Uwdlgev<           V{uqp!JV!.!Rcf!Tgcf{!Korcev
 Fcvg<              Oqpfc{-!Octej!36-!312;!5<59<31!RO
 Cvvcejogpvu<       kocig717289/rpi
                    kocig835371/rpi
                    kocig3;1455/rpi
                    kocig2;4;45/rpi
                    kocig;72554/rpi
                    312;.1432.Itc{.VTV.4t2.Qxgtcnn/rfh
                    V{uqp!JV!.!Rcf!Tgcf{!Korcev!Uwooct{a1436312;/rrvz


 Lipps#Pevv}/
 #
 Ew#{i#hmwgywwih/#exxeglih#mw#xli#pexiwx#wglihypi#vijpigxmrk#e#teh#xyvrsziv#jvsq#X}wsrw#witevexi
 gsrxvegxsv#sj#;242534=1##Fips{#evi#gexiksvmiw#sj#gswx#erh#xmqi#mqtegxw#jvsq#xlmw#hipe}ih#teh
 xyvrsziv#jvsq#X}wsrw#gsrxvegxsv#xs#Kve}/#ew#{ipp#ew#xli#mqtegx#xs#xli#szivepp#tvsnigx#xmqi#pmri1#Xli
 exxeglih#wglihypi#hsiw#rsx#eggsyrx#jsv#er}#ehhmxmsrep#wglihypi#tywliw/#erh#er}#yrjsviwiir#sv
 ehhmxmsrep#mqtegxw#{mpp#tywl#xli#wglihypi#he}#jsv#he}1#Fips{/#mr#kirivep/#hiwgvmfiw#xli#ors{r
 mqtegxw#erh#xli#jyxyvi#tswwmfpi#mqtegxw1#Epws#exxeglih#mw#e#wyqqev}#wliix#xlex#hiwgvmfiw#xli#tywl
 zmwyepp}1
 #
        Ors{r#Mqtegxw>#Uyerxmjmefpi>
              [mrxiv#[svo#[mpp#Sggyv1##Ehhmxmsrep#gswx#erh#xmqi#mqtegxw#wlsyph#fi#i|tigxih1
              70718#Qsw1#sj#ehhmxmsrep#Kirivep#Gsrhmxmsrw#gswx#Mqtegxih#ew#sj#rs{1
              Fymphmrk#Hv}#Mr#hexi#i|xirwmsr1
              I|tigxih#Fmppmrk#tivgirxekiw#jsv#Kve}#jmwgep#}iev#irhmrk#=2632534=1#Svmkmrep#tvsnigxmsr
              =8(/#gyvvirx#i|tigxih#tvsnigxmsr#58(1
              Fymphmrk#xyvrsziv#xs#X}wsr#i|xirhih1
              Tsxirxmep#jsv#Ehhmxmsrep#gswx#jsv#wxsveki#sj#jefvmgexih#qexivmepw1
              Wyfgsrxvegxsv#Tvmgmrk#Mrgviewi#m1i1#Wxiip/#TIQF#ixg1
 #
 #
        Jyxyvi#Tswwmfpi#mqtegxw>#Rsx#]ix#Uyerxmjmefpi>
              Wglihypi#gsrxmryih#tywl#hyi#xs#teh#vieh}1
                Gsrwxvygxmsr#Egxmzmxmiw#Hipe}ih#Hyi#xs#Xirriwwii#[iexliv#mrjpyirgi#[mrhs{1#Rsz#4wx/
                534=##Qevgl#63xl/#5353
                Ezempefmpmx}#sj#Wyfgsrxvegxsvw
                Gsrxmryih#Wyfgsrxvegxsv#Tvmgmrk#Mrgviewiw
                X}wsr#WST#hexi1
                Mrgviewih#Gslefmxexmsr#erh#wxegomrk#sj#xvehiwtistpi#{2#X}wsr#vixemrih#wyfw1
                Higviewmrk#Tvshygxmzmx}#Jegxsvw#jsv#epp1##Xlmw#{mpp#epws#limklxir#xli#riih#jsv#mrgviewih
                wejix}#qsrmxsvmrk2wxejjmrk#jsv#epp#tevxmiw1
              #
 Kve}#{mpp#irhiezsv#xs#{svo#gsppefsvexmzip}#{mxl#X}wsr#xs#qmrmqm~i#xli#mqtegxw#ewwsgmexih#{mxl#xlmw
 hipe}#fyx#ew#}sy#ger#kexliv#jvsq#xli#exxeglih#hsgyqirxw/#xlivi#evi#hijmrmxi#gswx#mqtegxw#xlex#evi
 wxevxmrk#xs#ejjigx#yw#erh#xli#tvsnigx1#
 #
  Teh#Vieh}#Mqtegx#Wyqqev}
                                                                                                                       534=05353#[mrhs{#Sj#[iexliv#
                                                                                                                  Mrjpyirgi1#Gsrwxvygxmsr#Egxmzmxmiw#Hyvmrk#
                                                                                                                    Xlmw#Xmqi#Qe}#I|tivmirgi#Ehhmxmsrep#
                                 <#QSW#Sziv#Epp#Hipe}#Mr#Vigimzmrk#                                                                Hipe}w
                                        Xli#Fymphmrk#Teh




          Svmkmrep#Teh#              Vizmwih#Teh#Vieh}#                  Vizmwih#Teh#Vieh}#                     Svmkmrep#Kve}#Wgsti#                    Gyvvirx#Kve}#Wgsti#
          Vieh}#Hexi                        Hexi                                Hexi                                 Gsqtpixi                          I|tigxih#Gsqtpixmsr
          442592534<                     525<2534=                           ;2342534=                              4425=2534=                              724;25353




Tvsnigx#E{evh                             Vizmwih#Teh#Vieh}#
 432382534<                                      Hexi
                                              62492534=
                                                                                                                               718#QSW#I|xirwmsr#Xs#Tvsnigx#
                                                                                                                                       Gsqtpixmsr#
  49#[iiow#Gsrwyqih#F}#Kve}1#                                        48#[iiow/#Gyvvirx#
  He}#Jsv#He}#Wlmjx#Mr#Wglihypi#                                         Mqtegx#
        Ejxiv#62492534=
                                                                                      4<#QSW#Tvsnigx#Wglihypi#+Gyvvirx#I|tigxih,
534<                      534=                                                                                                5353
                                                                 47#QSW#Tvsnigx#Wglihypi#+Svmkmrep,
                                                                                                                                                                               Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 3 of 17




   SGX    RSZ     HIG      NER      JIF      QEV     ETV       QE]      NYR     NYP       EYK    WIT    SGX    RSZ      HIG     NER      JIF     QEV       ETV    QE]    NYR
                                                                                                                                                                               PageID 57
!"#$%$#&'()                   !"#$%$#&'*+,-                                                                   ./$0   !"#   2-,     3#+/#         4$5$67      L<@C                                                                                                L<@O                                                                                         L<L<
                                                                                                              )1/    )1/   )1/
                                                                                                                                                                S1K    !10    3-D     ."#     *?%     )-"     S+5       4-V        8+/       !D/     8+&       S15     S1K     !10    3-D     ."#       *?%     )-"     S+5      4-V        8+/       !D/     8+&       S15   S1K     !10    3-D
    !"#$%&'(')*#+(,'
     -%)(!"#$%&'(./0%*'#+%*
      "%12%*'(3#"(34*(5!!"#650
       8.9;<<=                24>'>/?"-66                                                                     @A     @A     <    @B;!10;@C'!   <A;3-D;@C'!   8.9;<<=           <A;3-D;@C'!
       8.9;<<E                F$G6')1-                                                                         @      @     <    <A;3-D;@C'!   <A;3-D;@C'!          8.9;<<E    <A;3-D;@C'!
       8.9;<<B                .H5-/'2-%$-HIJ%+K1+#$?5                                                         L<     L<     <    @<;3-D;@C'!   <B;."#;@C'!          8.9;<<B            <B;."#;@C'!
       8.9;<<M                .H5-/IN/+&'3"?D-'2-%$-H                                                          @      @     <    <B;."#;@C'!   <B;."#;@C'!               8.9;<<M       <B;."#;@C'!
       8.9;<<A                *?#$"-'#?'>/?"--G'#?'N/+&                                                        @      @     <    <B;."#;@C'!   <B;."#;@C'!               8.9;<<A       <B;."#;@C'!
      &#+*'"2&'/#+(./0%*'#+%*
       8.9;<<O                F1$KG$50'>+G'2-+G&'F&'.H5-/'P'@@ILCI@CQ'LILCI@OQ'=I@MI@OQ'AI@I@OR                <      <     <    <@;S1K;@OT                                                                                                            8.9;<<O         <@;S1K;@OTQ'
       8.9;<@<                U-,D?/+/&'>?H-/'!%+$K+VK-'#?'#7-'3$#-                                            <      <     <    <=;)-";@C'!                                           8.9;<@<         <=;)-";@C'!Q'
       8.9;<@@                N/+&W6'3"?D-'X?,DK-#-';'P*?%'LMQ'@OR                                             <      <     <                  @O;8+/;L<T                                                                                                                                                                      8.9;<@@              @O;8+/;L<T
       8.9;<@L                N/+&W6'4$5+K'Y1+K$#&'F1$KG$50'2-%$-H                                            LL      <    LL    @O;8+/;L<     @A;!D/;L<                                                                                                                                                                       8.9;<@L                      @A;!D/;L<
       8.9;<@=                U&6?5'3"?D-'PF1$KG$50'X?,DK-#$?5R'P!10'LOQ'L<L<R                                 <      <     <                  LE;S1K;L<T                                                                                                                                                                                                               8.9;<@=     LE;S1K;L<T
       8.9;<@E                U&6?5W6'3#+/#'?Z'X?,,$66$?5$50'?Z'J[1$D,-5#                                      <      <     <    <@;S1K;L<T                                                                                                                                                                                                                      8.9;<@E      <@;S1K;L<TQ'
       8.9;<@B                U&6?5W6'3#+/#'?Z'>/?G1"#$?5'P@6#'\$KKR                                           <      <     <    <=;!10;L<T                                                                                                                                                                                                                              8.9;<@B       <=;!10;L<TQ'
       5789(;(<(!7=>8??(<(%@A?B(&CD<E8F=G8B('79H<!9>IB(#@87J79K
       5789(;(<(!7=>8??(<(%@A?B(&CD<E8F=G8B('79H<!9>IB(#@8
         8!@;O@               !/-+'@';'U&6?5'8?V$K$]+#$?5I3"?D-'?Z'H?/^'"+5'3#+/#''_``I``I``a                  <      <     <    @L;8+/;L<                                                                                                                                                                                      8!@;O@          @L;8+/;L<Q'
         8!@;OB               !/-+'@';'N/+&W6'3"?D-'?Z'9?/^'X?,DK-#-                                           <      <     <                  @O;8+/;L<                                                                                                                                                                          8!@;OB            @O;8+/;L<
       5789(L(<("8>8A@AGM(4(,97@8?D
         8!L;O@               !/-+'L';'U&6?5'8?V$K$]+#$?5I3"?D-'?Z'H?/^'"+5'3#+/#''_``I``I``a                  <      <     <    @<;S+5;L<                                                                                                                                                                    8!L;O@         @<;S+5;L<Q'
         8!L;OB               !/-+'L';'N/+&W6'3"?D-'?Z'9?/^'X?,DK-#-                                           <      <     <                  =<;S+5;L<                                                                                                                                                           8!L;OB         =<;S+5;L<
       5789(N(<(3788O87(4(*PAKKAGM
         8!=;O@               !/-+'=';'U&6?5'8?V$K$]+#$?5I3"?D-'?Z'H?/^'"+5'3#+/#''_``I``I``a                  <      <     <    L@;4-V;L<                                                                                                                                                                                  8!=;O@         L@;4-V;L<Q'
         8!=;OB               !/-+'=';'N/+&W6'3"?D-'?Z'9?/^'X?,DK-#-                                           <      <     <                  LB;4-V;L<                                                                                                                                                                    8!=;OB          LB;4-V;L<
       5789(Q(<(0A@8(/GD9I8(R(&==SAGM(*P8T
         X!E;!=;O@            !/-+'E';'U&6?5'8?V$K$]+#$?5I3"?D-'?Z'H?/^'"+5'3#+/#''_``I``I``a                  <      <     <    @C;*?%;@O                                                                                                                                                  X!E;!=;O@         @C;*?%;@OQ'
         X!E;!=;OB            !/-+'E';'N/+&W6'3"?D-'?Z'9?/^'X?,DK-#-                                           <      <     <                  <=;S+5;L<                                                                                                                                                X!E;!=;OB           <=;S+5;L<
      &#+*'"2&'/#+(/.!5&'*
       &/<U;(<(!78>9?D("==V(0=9T(W!&E<XXY
         X(;<@;<L             X(;<@';'*-H'b?+G$50'(5Z?/,+#$?5'Z/?,'.H5-/'$6'67+/-G                             <      <     <    @O;4-V;@O'!                                                                 X(;<@;<L         @O;4-V;@O'!Q'
         X(;<@;<E             X(;<@';'!IJ'/-G-6$05'V+6-G'?5'5-H'b?+G'(5Z?/,+#$?5                              @<     @O     <    @O;4-V;@O'!   @C;8+/;@O'!                                                   X(;<@;<E                    @C;8+/;@O'!
         X(;<@;<M             X(;<@';'31V'-%+K1+#-'G-6$05'?5'>/-"+6#'J50$5--/$50';'!/-+'@                      B      L     <    @C;8+/;@O'!   @O;8+/;@O'!                                                             X(;<@;<M          @O;8+/;@O'!
         X(;<@;<C             X(;<@';'>8'/-%$-H'$,D+"#ID/?%$G-'"?6#'$5'>X)                                     L      @     <    @O;8+/;@O'!   @O;8+/;@O'!                                                              X(;<@;<C         @O;8+/;@O'!
         X(;<@;@<             X(;<@';'.H5-/'/-%$-HI+DD/?%-'>X)                                                 L      @     @    @O;8+/;@O'!   L<;8+/;@O                                                                X(;<@;@<         L<;8+/;@O
         X(;<@;@L             X(;<@';'>8'$661-'X.'#?'31V                                                       @      <     @    L@;8+/;@O     L@;8+/;@O                                                                X(;<@;@L         L@;8+/;@O
         X(;<@;@E             X(;<@';'31V'61V,$#'5-H'3)W6'Z?/'(,D+"#-G'+/-+6';'!/-+'@                         @<      <    @<    LL;8+/;@O     <E;!D/;@O                                                                X(;<@;@E              <E;!D/;@O
         X(;<@;@M             X(;<@';'N/+&I!IJ'/-%$-HI+DD/?%-'3)W6';'!/-+'@                                    B      <     B    <B;!D/;@O      @@;!D/;@O                                                                   X(;<@;@M           @@;!D/;@O
         X(;<@;@C             X(;<@';'.H5-/'/-%$-HI+DD/?%-'3)W6';'!/-+'@                                       B      <     B    @L;!D/;@O     @C;!D/;@O                                                                      X(;<@;@C             @C;!D/;@O
         X(;<@;L<             X(;<@';'31V'/-Z+V/$"+#-IG-K$%-/'+ZZ-"#-G'D/-"+6#';'!/-+'@                       L<      <    L<    @O;!D/;@O     @M;8+&;@O                                                                          X(;<@;L<                 @M;8+&;@O
         X(;<@;=L             X(;<@';'.H5-/'D/?%$G-'4(*!b'b?+G'(5Z?/,+#$?5'P!Z#-/',--#$50R                     @     @=     <    @O;4-V;@O'!   <C;8+/;@O'!                                                   X(;<@;=L               <C;8+/;@O'!

     E%*/Z+4!"%&#+*'"2&'/#+
      #[+%"(5&'/6/'/%*
       ).9;<LC                .H5-/'>/?%$G-'F1$KG$50'X/$#-/$+I>/?0/+,,$50                                      <      <     <    @E;*?%;@C'!                                        ).9;<LC      @E;*?%;@C'!Q'
       ).9;<LO                .H5-/I'N/+&'2-%$-H'?Z''F/$G0$50')?"1,-5#6                                        <      <     <    @E;*?%;@C'!                                        ).9;<LO      @E;*?%;@C'!Q'
       ).9;<=<                .H5-/'>/?"-66'8J>')-6$05'X/$#-/$+                                                <      <     <    L<;8+/;@O                                                                            ).9;<=<            L<;8+/;@OQ'
       ).9;<=@                F1$KG$50'4??#'>/$5#'4$5+K$]-G                                                    <      <     <    <E;)-";@C'!                                           ).9;<=@          <E;)-";@C'!Q'
       ).9;<=L                J[1$D,-5#')/+H$506'+5G'c#$K$#&'c6+0-'b$6#6                                       <      <     <    L<;8+/;@O                                                                            ).9;<=L            L<;8+/;@OQ'
       ).9;<==                d+]+/G?16'8+#-/$+K'b$6#6                                                         @      @     <    LA;*?%;@C'!   LA;*?%;@C'!                            ).9;<==         LA;*?%;@C'!
       ).9;<=A                N-?#-"75$"+K'2-D?/#';'2-D?/#'(661-G                                              <      <     <                  L@;*?%;@C'!                           ).9;<=A         L@;*?%;@C'!
       ).9;!<<=               .ZZ+K'K?+G6'e'G-#+$K6'$5Z?                                                       @      @     <    <C;S+5;@O'!   <C;S+5;@O'!                                     ).9;!<<=            <C;S+5;@O'!
       ).9;!<<A               8QJQ>Q2-Z'K?+G6'e'G-#+$K6'$5Z?                                                   <      <     <    L<;8+/;@O                                                                          ).9;!<<A             L<;8+/;@OQ'
       ).9;!<<C               D/?"-66'-[1$D,-5#'$5Z?/,+#$?5'D/?%$G-G                                           <      <     <    L<;8+/;@O                                                                          ).9;!<<C             L<;8+/;@OQ'
       ).9;!<@A               Z?15G+#$?5'6&6#-,'G-"$6$?5''''''''''''''''''''''''''''P0-?D$-/'%6'+10-/'"+6#R    <      <     <    <E;)-";@C'!                                          ).9;!<@A          <E;)-";@C'!Q'
       [[!'(AGV=7\9DA=G
                                                                                                                                                                                                                                                                                                                                                                                                      Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 4 of 17




         ).9;!<<B             99U';'"$%$K'D$D$50'$5Z?/,+#$?5'e'G-#+$K6                                         <      <     <    <E;)-";@C'!                                          ).9;!<<B          <E;)-";@C'!Q'
      Z"5)(E%*/Z+
       Z8G879S(&==7TAG9DA=G
         )NX;<L@              >/?f-"#'=<g'/-%$-H                                                               <      <     <                  <O;S+5;@O'!                                       )NX;<L@           <O;S+5;@O'!
         )NX;<=@              >/?f-"#'M<g'/-%$-H                                                               <      <     <                  @O;4-V;@O'!                                                  )NX;<=@           @O;4-V;@O'!
         )NX;<E@              >/?f-"#'O<g'/-%$-H                                                               <      <     <                  L@;8+/;@O                                                                )NX;<E@          L@;8+/;@O


  !"#$"%&#"'%(%)*+,-.+)/                          !"#1+K                              X/$#$"+K                                                                                *+,-./0!012,3!40                                                                                                                                          !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                           2-,+$5$50                           8$K-6#?5-                                                                                                                                                                                                                                           (%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                                         ,56'&77!2896;<76                                                                                                                                         "(>#?>
                                                                                                                                                                                                                                                                                                                                                                                                      PageID 58
!"#$%$#&'()                    !"#$%$#&'*+,-                                                 ./$0   !"#   2-,     3#+/#         4$5$67      ><EG                                                                                               ><EM                                                              ><><
                                                                                             )1/    )1/   )1/
                                                                                                                                               Q1H   !10   3-K   ."#      *B%     )-"       Q+5      4-N      D+/     !K/       D+&      Q15       Q1H   !10   3-K   ."#   *B%   )-"   Q+5   4-N   D+/     !K/   D+&    Q15   Q1H   !10   3-K
         )89;<=>               )-6$05?8/+&')-6$05'@$"A;BCC'D--#$50                            E      E     <    >F;."#;EG'!   >F;."#;EG'!                  )89;<=>       >F;."#;EG'!
         )89;!<<>              41HH'#-+,'I-6$05'A$"A;BCC                                      <      <     <    <E;*B%;EG'!                                )89;!<<>        <E;*B%;EG'!]'
       E8?AMG(!P9?8
         9B5C$/,+#$B5'J')-6$05')-%-HBK,-5#
          )));!<EE             +/"7$#-"#1/+H                                                 L<     L=     <    <E;*B%;EG'!   EM;4-N;EM'!                  )));!<EE                                        EM;4-N;EM'!
          )));!<E>             6#/1"#1/+H                                                    O<     P<     <    <E;*B%;EG'!   F<;Q+5;EM'!                  )));!<E>                                   F<;Q+5;EM'!
          )));!<EF             "$%$H                                                         =M     P<     <    <E;*B%;EG'!   F<;Q+5;EM'!                  )));!<EF                                   F<;Q+5;EM'!
          )));!<E=             C$/-'+H+/,                                                    EO     =<     <    >E;)-";EG'!   EM;4-N;EM'!                               )));!<E=                           EM;4-N;EM'!
          )));!<EO             1R0R'KH1,N$50                                                 O<     PE     <    <E;*B%;EG'!   FE;Q+5;EM'!                  )));!<EO                                   FE;Q+5;EM'!
          )));!<EP             K/-"+6#'"B561H#+5#                                            P<     L=     <    <E;*B%;EG'!   EM;4-N;EM'!                  )));!<EP                                        EM;4-N;EM'!
          )));!<EG             K/-"+6#'CB15I+#$B5'/-+"#$B56                                   E      E     <    <L;)-";EG'!   <L;)-";EG'!                            )));!<EG          <L;)-";EG'!
          )));!<EM             STDU'/-+"#$B56                                                 <      <     <                  >L;D+/;EM                                                              )));!<EM        >L;D+/;EM
         4$5+H')-6$05'+5I')B"1,-5#6
          )4);!<>E             +/"7$#-"#1/+H                                                 P<     F=    FP    FE;Q+5;EM'!   <G;D+&;EM                                            )4);!<>E                                         <G;D+&;EM
          )4);!<>>             6#/1"#1/+H                                                    =O     F=    >E    FE;Q+5;EM'!   EL;!K/;EM                                            )4);!<>>                                  EL;!K/;EM
          )4);!<>F             "$%$H                                                         ><     FE     O    <O;4-N;EM'!   >P;D+/;EM                                             )4);!<>F                         >P;D+/;EM
          )4);!<>=             C$/-'+H+/,                                                    ><     >O     O    EF;4-N;EM'!   >P;D+/;EM                                                 )4);!<>=                     >P;D+/;EM
          )4);!<>O             1R0R'KH1,N$50                                                 F<     FE     M    <O;4-N;EM'!   <E;!K/;EM                                             )4);!<>O                              <E;!K/;EM
          )4);!<>L             6K-"$C$"+#$B56                                                E<     =O    E<    EP;Q+5;EM'!   <>;!K/;EM                                         )4);!<>L                                  <>;!K/;EM
         S/$"$50'S+"A+0-6
          )SS;!<>M             6$#-';'K/$"$50'K+"A+0-                                         E      E     <    <P;)-";EG'!   <P;)-";EG'!                            )SS;!<>M          <P;)-";EG'!
          )SS;!<F<             E';'CB15I+#$B5'K/$"$50'K+"A+0-                                 <      <     <                  F<;Q+5;EM'!                                          )SS;!<F<           F<;Q+5;EM'!
          )SS;!<FE             E';'C$#;B1#'K/$"$50'K+"A+0-                                    <      <     <                  EM;4-N;EM'!                                                 )SS;!<FE         EM;4-N;EM'!
          )SS;!<F>             >';'CB15I+#$B5'K/$"$50'K+"A+0-                                 <      <     <                  F<;Q+5;EM'!                                          )SS;!<F>           F<;Q+5;EM'!
          )SS;!<FF             >';'C$#;B1#'K/$"$50'K+"A+0-                                    <      <     <                  ><;D+/;EM                                                           )SS;!<FF          ><;D+/;EM
          )SS;!<FP             F';'CB15I+#$B5'K/$"$50'K+"A+0-                                 <      <     <                  F<;Q+5;EM'!                                          )SS;!<FP           F<;Q+5;EM'!
          )SS;!<FL             F';'67-HH'K/$"$50'K+"A+0-'V6#--HW                              <      <     <                  F<;Q+5;EM'!                                          )SS;!<FL           F<;Q+5;EM'!
          )SS;!<FG             F';'C$#;B1#'K/$"$50'K+"A+0-                                    <      <     <                  ><;D+/;EM                                                           )SS;!<FG          ><;D+/;EM
          )SS;!<FM             =';'CB15I+#$B5'K/$"$50'K+"A+0-                                 <      <     <                  EL;!K/;EM                                                                    )SS;!<FM          EL;!K/;EM
          )SS;!<=<             =';'67-HH'K/$"$50'K+"A+0-'V6#--HW                              <      <     <                  EM;4-N;EM'!                                                 )SS;!<=<         EM;4-N;EM'!
          )SS;!<=E             =';'C$#;B1#'K/$"$50'K+"A+0-                                    <      <     <                  ><;D+/;EM                                                           )SS;!<=E          ><;D+/;EM
       3A78(!7=D8>DA=G
         )4S;<O                4S';'U$I?!X+/I')?U'3"BK-                                      E<      <    E<    ><;D+/;EM'!   <>;!K/;EM                                                              )4S;<O               <>;!K/;EM
         )4S;F<                4S';'P<Y')-6$05')-%-HBK,-5#                                   EO      <    EO    <F;!K/;EM     >F;!K/;EM                                                                  )4S;F<                >F;!K/;EM
         )4S;=<                4S';'M<Y'9B56#/1"#$B5')B"1,-5#6                               ><      <    ><    >=;!K/;EM     >E;D+&;EM                                                                          )4S;=<                >E;D+&;EM
         )4S;O<                4S';'(661-'CB/'9B56#/1"#$B5                                   E<      <    E<    >>;D+&;EM     <O;Q15;EM                                                                                   )4S;O<           <O;Q15;EM
       !87\AD?
         S-/,$#'S+"A+0-6
          )S;!<=L              6$#-';'K-/,$#'K+"A+0-                                          <      <     <    E=;Q+5;EM'!                                                     )S;!<=L          E=;Q+5;EM'!]'
          )S;!<=G              !?T';'K/-K+/-';'E';'CB15I+#$B5'K-/,$#'K+"A+0-                  <      <     <    EO;Q+5;EM'!                                                     )S;!<=G          EO;Q+5;EM'!]'
          )S;!<=M              !?T';'K/-K+/-';'E';'67-HH'K-/,$#'K+"A+0-'VK/-"+6#W             <      <     <                  <>;!K/;EM                                                                )S;!<=M            <>;!K/;EM
          )S;!<O<              !?T';'K/-K+/-';'E';'C$#;B1#'K-/,$#'K+"A+0-                     <      <     <                  <>;!K/;EM                                                                )S;!<O<            <>;!K/;EM
          )S;!<OE              !?T';'K/-K+/-';>';'CB15I+#$B5'K-/,$#'K+"A+0-                   <      <     <    EO;Q+5;EM'!                                                     )S;!<OE          EO;Q+5;EM'!]'
          )S;!<O>              !?T';'K/-K+/-';>';'67-HH'K-/,$#'K+"A+0-'VK/-"+6#W              <      <     <                  <>;!K/;EM                                                                )S;!<O>            <>;!K/;EM
          )S;!<OF              !?T';'K/-K+/-';>';'C$#;B1#'K-/,$#'K+"A+0-                      <      <     <                  <>;!K/;EM                                                                )S;!<OF            <>;!K/;EM
          )S;!<O=              !?T';'K/-K+/-';F';'CB15I+#$B5'K-/,$#'K+"A+0-                   <      <     <                  F<;Q+5;EM'!                                           )S;!<O=           F<;Q+5;EM'!
          )S;!<OO              !?T';'K/-K+/-';F';'67-HH'K-/,$#'K+"A+0-'V6#--HW                <      <     <                  <>;!K/;EM                                                                )S;!<OO            <>;!K/;EM
          )S;!<OP              !?T';'K/-K+/-';F';'C$#;B1#'K-/,$#'K+"A+0-                      <      <     <                  <>;!K/;EM                                                                )S;!<OP            <>;!K/;EM
          )S;!<OL              !?T';'K/-K+/-';=';'CB15I+#$B5'K-/,$#'K+"A+0-                   <      <     <                  >F;!K/;EM                                                                       )S;!<OL          >F;!K/;EM
          )S;!<OG              !?T';'K/-K+/-';=';'67-HH'K-/,$#'K+"A+0-'V6#--HW                <      <     <                  <>;!K/;EM                                                                )S;!<OG            <>;!K/;EM
          )S;!<OM              !?T';'K/-K+/-';=';'C$#;B1#'K-/,$#'K+"A+0-                      <      <     <                  <>;!K/;EM                                                                )S;!<OM            <>;!K/;EM
         S-/,$##$50'?'2-%$-X
          )S;!<PE              !?T'"B5C$/,'HB"+H'BCC$"$+H6Z'/-[1$/-,-5#6                      <      <     <    >G;*B%;EG'!                                          )S;!<PE      >G;*B%;EG'!]'
          )S;!<P>              !\Q'2-%$-X?!KK/B%-';'6$#-'V8/+&'!,-5I,-5#W                    E<     =P     =    EO;Q+5;EM'!   >O;D+/;EM                                         )S;!<P>                              >O;D+/;EM
          )S;!<PF              !\Q'2-%$-X?!KK/B%-';'+/-+'E'CB15I+#$B56                       E<     EM     <    EP;Q+5;EM'!   E>;4-N;EM'!                                        )S;!<PF                 E>;4-N;EM'!
          )S;!<P=              !\Q'2-%$-X?!KK/B%-';'+/-+'E'67-HH                             EO      <    EO    <F;!K/;EM     >F;!K/;EM                                                                )S;!<P=                 >F;!K/;EM
                                                                                                                                                                                                                                                                                                                                                Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 5 of 17




          )S;!<PO              !\Q'2-%$-X?!KK/B%-';'+/-+'E'C$#;B1#                           ><      <    ><    <F;!K/;EM     F<;!K/;EM                                                                )S;!<PO                     F<;!K/;EM
          )S;!<PP              !\Q'2-%$-X?!KK/B%-';'+/-+'>'CB15I+#$B56                       E<     EM     <    EP;Q+5;EM'!   E>;4-N;EM'!                                        )S;!<PP                 E>;4-N;EM'!
          )S;!<PL              !\Q'2-%$-X?!KK/B%-';'+/-+'>'67-HH                             EO      <    EO    <F;!K/;EM     >F;!K/;EM                                                                )S;!<PL                 >F;!K/;EM
          )S;!<PG              !\Q'2-%$-X?!KK/B%-';'+/-+'>'C$#;B1#                           ><      <    ><    <F;!K/;EM     F<;!K/;EM                                                                )S;!<PG                     F<;!K/;EM
          )S;!<PM              !\Q'2-%$-X?!KK/B%-';'+/-+'F'CB15I+#$B56                       E<     F=     O    FE;Q+5;EM'!   >P;D+/;EM                                                )S;!<PM                       >P;D+/;EM
          )S;!<L<              !\Q'2-%$-X?!KK/B%-';'+/-+'F'67-HH                             EO      <    EO    <F;!K/;EM     >F;!K/;EM                                                                )S;!<L<                 >F;!K/;EM
          )S;!<LE              !\Q'2-%$-X?!KK/B%-';'+/-+'F'C$#;B1#                           ><      <    ><    <F;!K/;EM     F<;!K/;EM                                                                )S;!<LE                     F<;!K/;EM

  !"#$"%&#"'%(%)*+,-.+)/                         !"#1+H                          9/$#$"+H                                                                  *+,-./0!012,3!40                                                                                                                    !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                          2-,+$5$50                       D$H-6#B5-                                                                                                                                                                                                       "%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                      ,56'&77!2896;<76                                                                                                                   "(>#?>
                                                                                                                                                                                                                                                                                                                                                PageID 59
!"#$%$#&'()                !"#$%$#&'*+,-                                              ./$0   !"#   2-,     3#+/#         4$5$67      =;GS                                                                                                     =;GH                                                                        =;=;
                                                                                      )1/    )1/   )1/
                                                                                                                                        ?1K      !10     3-B       ."#     *C%       )-"      ?+5     4-M      I+/       !B/    I+&      ?15        ?1K      !10   3-B     ."#      *C%   )-"   ?+5   4-M   I+/     !B/   I+&    ?15   ?1K   !10   3-B
          )89!;<=          !>?'2-%$-@A!BB/C%-'9'+/-+'D'EC15F+#$C56                    G;      ;    G;    =D9!B/9GH     ;<9I+&9GH                                                                                )89!;<=              ;<9I+&9GH
          )89!;<J          !>?'2-%$-@A!BB/C%-'9'+/-+'D'67-KK                          GL      ;    GL    ;J9!B/9GH     =J9!B/9GH                                                                          )89!;<J              =J9!B/9GH
          )89!;<D          !>?'2-%$-@A!BB/C%-'9'+/-+'D'E$#9C1#                        =;      ;    =;    ;J9!B/9GH     J;9!B/9GH                                                                          )89!;<D                 J;9!B/9GH
          )89489G;         31M,$#'4$/-'8/C#-"#$C5'8-/,$#')/+@$506                      ;      ;     ;                  =G9I+&9GH                                                                                      )89489G;          =G9I+&9GH
          )89489G=         4$/-'8/C#-"#$C5'8-/,$#'9'2-%$-@A!BB/C%+K'NO&'!>?P          =;      ;    =;    ==9I+&9GH     GH9?159GH                                                                                      )89489G=                   GH9?159GH
          )89489GJ         4$/-'I+/67+KK'8-/,$#'2-%$-@                                GL      ;    GL    ==9I+&9GH     G=9?159GH                                                                                      )89489GJ                G=9?159GH

     !"#&2"%.%+'
      #JG87(!7=>C78\8GD
       8;;9GGH             !@+/F'3$#-@C/Q'R/+F$50                                     GD     GD     ;    G<9!109GS'!   ;T93-B9GS'!     8;;9GGH             ;T93-B9GS'!
      Z79H(!7=>C78\8GD
       *AD8J=7I
         8;=9;;L           )A45FU6'9'O$FA!@+/F'9')--B'4C15F+#$C56                     GD     GD     ;    =G9*C%9GS'!   G=9)-"9GS'!                                 8;=9;;L              G=9)-"9GS'!
         8;=9;;H           )A45FU6'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                   GL      T    G;    G=9I+/9GH'!    G;9?1K9GH                                                                   8;=9;;H                                           G;9?1K9GH
         8;=9;G;           )A45FU6'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6            L     ==     ;    G=9)-"9GS'!   GL9?+59GH'!                                       8;=9;G;                  GL9?+59GH'!
         8;=9;GG           )A45FU6'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6          L     J=     ;    GL9?+59GH'!   =S94-M9GH'!                                                  8;=9;GG                     =S94-M9GH'!
         8;=9;GS           )A45FU6'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                      G;     GD    G;    =S94-M9GH'!    G;9?1K9GH                                                              8;=9;GS                                                G;9?1K9GH
         8;=E9;;L          4-5"-'9'O$FA!@+/F'9'4-5"$50                                GH     GH     ;    GD9*C%9GS'!   G=9)-"9GS'!                             8;=E9;;L                 G=9)-"9GS'!
         8;=E9;;H          4-5"-'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                     GL      ;    GL    GG9*C%9GH     ;J9)-"9GH                                                                                                                                         8;=E9;;H         ;J9)-"9GH
         8;=E9;G;          4-5"-'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6             =G     =G     ;    G=9)-"9GS'!   GD9?+59GH'!                                       8;=E9;G;                GD9?+59GH'!
         8;=E9;GG          4-5"-'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6            L     JG     ;    GL9?+59GH'!   =<94-M9GH'!                                               8;=E9;GG                       =<94-M9GH'!
         8;=E9;GS          4-5"-'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                        =;     GL    =;    =<94-M9GH'!   ;J9)-"9GH                                                               8;=E9;GS                                                                                   ;J9)-"9GH
         8;=E,9;;L         4I'9'O$FA!@+/F'9'4$/-'I+$5'WCCB                            G<     G<     ;    GG9)-"9GS'!   ;D9?+59GH'!                                   8;=E,9;;L                 ;D9?+59GH'!
         8;=E,9;;H         4I'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                        GL      ;    GL    ;G9I+&9GH     =G9I+&9GH                                                                                8;=E,9;;H               =G9I+&9GH
         8;=E,9;G;         4I'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6                G;     L=     =    ;<9?+59GH'!   =G9I+/9GH                                             8;=E,9;G;                                =G9I+/9GH
         8;=E,9;GG         4I'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6               L      ;     L    ==9I+/9GH     =S9I+/9GH                                                                    8;=E,9;GG            =S9I+/9GH
         8;=E,9;GS         4I'9'31M'4+MA)-K$%-/'9'4$/-'I+$5'WCCB                      =;      ;    =;    =D9!B/9GH     =G9I+&9GH                                                                              8;=E,9;GS                 =G9I+&9GH
         8;=B9;;L          8+%-'9'O$FA!@+/F'9'!6B7+K#'8+%$50                          G;      ;    G;    =;9I+/9GH     ;=9!B/9GH                                                                    8;=B9;;L              ;=9!B/9GH
         8;=B9;;H          8+%-'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                      GL      ;    GL    GS9!B/9GH     ;S9I+&9GH                                                                              8;=B9;;H               ;S9I+&9GH
         8;=B9;G;          8+%-'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6              G;      ;    G;    GS9!B/9GH     ;G9I+&9GH                                                                              8;=B9;G;            ;G9I+&9GH
         8;=B9;GG          8+%-'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6             L      ;     L    GS9!B/9GH     =D9!B/9GH                                                                              8;=B9;GG         =D9!B/9GH
         8;=B9;GS          8+%-'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                         G;      ;    G;    =L9!B/9GH     ;S9I+&9GH                                                                               8;=B9;GS              ;S9I+&9GH
       &=G>78D8
         8;J9;;L           XC5"'9'O$FA!@+/F'9'XC5"/-#-                                =;     J;     ;    GT9?+59GH'!   =<94-M9GH'!                                                  8;J9;;L                     =<94-M9GH'!
         8;J9;;H           XC5"'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                      GL      ;    GL    G;9!B/9GH     J;9!B/9GH                                                                            8;J9;;H               J;9!B/9GH
         8;J9;G;           XC5"'9'31M'8/-B+/-A31M,$#'9'3)6'9'2-M+/'9'4*)U6            GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;G;                    ;=9!B/9GH
         8;J9;GG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'2-M+/'9'4*)U6             L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;GG           ;H9!B/9GH
         8;J9;GS           XC5"'9'31M'4+MA)-K$%-/'9'2-M+/'4*)U6                       GL      ;    GL    G;9!B/9GH     J;9!B/9GH                                                                            8;J9;GS               J;9!B/9GH
         8;J9;=;           XC5"'9'31M'8/-B+/-A31M,$#'9'3)6'9'2-M+/'9'8$#U6            =;     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;=;                    ;=9!B/9GH
         8;J9;=G           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'2-M+/'9'8$#U6             L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;=G           ;H9!B/9GH
         8;J9;=S           XC5"'9'31M'4+MA)-K$%-/'9'2-M+/'8$#U6                       =;      ;    =;    G;9!B/9GH     ;<9I+&9GH                                                                            8;J9;=S                  ;<9I+&9GH
         8;J9;J;           XC5"'9'31M'8/-B+/-A31M,$#'9'3)6'9'2-M+/'9'YK-%Z'3K+M6      GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;J;                    ;=9!B/9GH
         8;J9;JG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'2-M+/'9'YK-%Z'3K+M6       L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;JG           ;H9!B/9GH
         8;J9;JS           XC5"'9'31M'4+MA)-K$%-/'9'2-M+/'YK-%Z'3K+M6                 GL      ;    GL    G;9!B/9GH     J;9!B/9GH                                                                            8;J9;JS               J;9!B/9GH
         8;J9;D;           XC5"'9'31M'8/-B+/-A31M,$#'9'3)6'9'2-M+/'9'3.R              =;     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;D;                    ;=9!B/9GH
         8;J9;DG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'2-M+/'9'3.R               L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;DG           ;H9!B/9GH
         8;J9;DS           XC5"'9'31M'4+MA)-K$%-/'9'2-M+/'3.R                         =;      ;    =;    G;9!B/9GH     ;<9I+&9GH                                                                            8;J9;DS                  ;<9I+&9GH
         8;J9;L;           XC5"'9'31M'8/-B+/-A31M,$#'9'3)6'9'2-M+/'9'X1/M6            GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;L;                    ;=9!B/9GH
         8;J9;LG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'2-M+/'9'X1/M6             L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;LG           ;H9!B/9GH
         8;J9;LS           XC5"'9'31M'4+MA)-K$%-/'9'2-M+/'X1/M6                       GL      ;    GL    G;9!B/9GH     J;9!B/9GH                                                                            8;J9;LS               J;9!B/9GH
         8;J9;T;           XC5"'9'31M'8/-B+/-A31M,$#'9'3)6'9'2-M+/'9'2CCE'3K+M        GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;T;                    ;=9!B/9GH
         8;J9;TG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'2-M+/'9'2CCE'3K+M         L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;TG           ;H9!B/9GH
         8;J9;TS           XC5"'9'31M'4+MA)-K$%-/'9'2-M+/'2CCE'3K+M                   GL      ;    GL    G;9!B/9GH     J;9!B/9GH                                                                            8;J9;TS               J;9!B/9GH
         8;J9;<;           XC5"'9'31M'8/-B+/-A31M,$#'9'4*)'I$[')-6$05                 GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;<;                    ;=9!B/9GH
         8;J9;<G           XC5"'9'R/+&A.@5-/'2%@A!BB'9'4*)'I$[')-6$05                  L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;<G           ;H9!B/9GH
         8;J9;S;           XC5"'9'31M'8/-B+/-A31M,$#'9'3K+M'I$[')-6$05                GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;S;                    ;=9!B/9GH
         8;J9;SG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'3K+M'I$[')-6$05                 L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;SG           ;H9!B/9GH
                                                                                                                                                                                                                                                                                                                                                         Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 6 of 17




         8;J9;H;           XC5"'9'31M'8/-B+/-A31M,$#'9'X1/M'I$[')-6$05                GL     GL    G;    =<94-M9GH'!   ;=9!B/9GH                                                               8;J9;H;                    ;=9!B/9GH
         8;J9;HG           XC5"'9'R/+&A.@5-/'2%@A!BB'9'X1/M'I$[')-6$05                 L      ;     L    ;J9!B/9GH     ;H9!B/9GH                                                                          8;J9;HG           ;H9!B/9GH
         8/-"+6#
          8;JB9;;L         8/-"+6#'9'O$FA!@+/F'9'\+KK6']')C1MK-'^--U6                  L      L     ;    GL9."#9GS'!   GH9."#9GS'!                     8;JB9;;L          GH9."#9GS'!
          8;JB9;;H         8/-"+6#'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                   G;      T    G;    G=9I+/9GH'!   ;G9!109GH                                                                 8;JB9;;H                                                    ;G9!109GH
          8;JB9;G;         8/-"+6#'9'31M'8/-B+/-A31M,$#'9'3)6'9'XCK_'O-+,6_')MK'^U6   D<     DS     ;    GH9."#9GS'!   =S9)-"9GS'!                      8;JB9;G;                              =S9)-"9GS'!


  !"#$"%&#"'%(%)*+,-.+)/                    !"#1+K                       X/$#$"+K                                                                       *+,-./0!012,3!40                                                                                                                                !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                     2-,+$5$50                    I$K-6#C5-                                                                                                                                                                                                                        =%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                   ,56'&77!2896;<76                                                                                                                               "(>#?>
                                                                                                                                                                                                                                                                                                                                                         PageID 60
!"#$%$#&'()                    !"#$%$#&'*+,-                                                 ./$0   !"#   2-,     3#+/#         4$5$67      =;GS                                                                                              =;GH                                                                       =;=;
                                                                                             )1/    )1/   )1/
                                                                                                                                               ?1K   !10    3-B       ."#   *C%   )-"      ?+5       4-M     I+/        !B/     I+&        ?15     ?1K     !10     3-B       ."#   *C%   )-"   ?+5   4-M   I+/     !B/   I+&    ?15   ?1K   !10   3-B
          8;JB9;GG             8/-"+6#'9'R/+&A.@5-/'2%@A!BB'9'3)6''9'XCK_'O-+,6_')MK'^U6      GG    G<     ;    =S9)-"9GS'!   =J9?+59GH'!                                   8;JB9;GG               =J9?+59GH'!
          8;JB9;GS             8/-"+6#'9'31M'4+MA)-K$%-/'9'XCK_'O-+,6_')MK'^U6               D;     J=    G;    ;D94-M9GH'!   ;G9!109GH                                                8;JB9;GS                                                             ;G9!109GH
          8;JB9;=;             8/-"+6#'9'31M'8/-B+/-A31M,$#'9'3)6'9'\+KK6                    T=     <G     ;    GH9."#9GS'!   ;G94-M9GH'!                  8;JB9;=;                                   ;G94-M9GH'!
          8;JB9;=G             8/-"+6#'9'R/+&A.@5-/'2%@A!BB'9'3)6'9'\+KK6                     L     GS     ;    ;G94-M9GH'!   =<94-M9GH'!                                          8;JB9;=G                   =<94-M9GH'!
          8;JB9;=S             8/-"+6#'9'31M'4+MA)-K$%-/'9'\+KK6                             D;      <    JJ    GG9I+/9GH'!   ;G9!109GH                                                          8;JB9;=S                                                   ;G9!109GH
         3B-"$+K#&'3K+MAXC+#$506
          8;J69;;L             3B-"Z'3K+M'9'O$FA!@+/F'9'3B-"$+K$#&'3K+M'N^1E"CP              G;      <     J    GG9I+/9GH'!   ==9I+/9GH                                                          8;J69;;L            ==9I+/9GH
          8;J69;;H             3B-"Z'3K+M'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                   GL      ;    GL    ==9!B/9GH     G;9I+&9GH                                                                      8;J69;;H               G;9I+&9GH
          8;J69;G;             3B-"Z'3K+M'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6           G;      ;    G;    =L9I+/9GH     ;L9!B/9GH                                                              8;J69;G;            ;L9!B/9GH
          8;J69;GG             3B-"Z'3K+M'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6          L      ;     L    ;S9!B/9GH     G=9!B/9GH                                                                 8;J69;GG           G=9!B/9GH
          8;J69;GS             3B-"Z'3K+M'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                      =;      ;    =;    GL9!B/9GH     G;9I+&9GH                                                                    8;J69;GS                 G;9I+&9GH
          8;H-9;;H             YBC[&'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                        GL      ;    GL    =H9!B/9GH     G<9I+&9GH                                                                       8;H-9;;H                G<9I+&9GH
          8;H-9;G;             YBC[&'9'31M'8/-B+/-A31M,$#'98)6A3+,BK-6'9'I+#-/$+K6           GL      ;    GL    =L9I+/9GH     G=9!B/9GH                                                             8;H-9;G;               G=9!B/9GH
          8;H-9;GG             YBC[&'9'R/+&A.@5-/'2%@A!BB'9'8)6A3+,BK-6'9'I+#-/$+K6           L      ;     L    GL9!B/9GH     GH9!B/9GH                                                                    8;H-9;GG            GH9!B/9GH
          8;H-9;GS             YBC[&'9'31M'4+MA)-K$%-/''9'I+#-/$+K6                          =;      ;    =;    ==9!B/9GH     G<9I+&9GH                                                                      8;H-9;GS                 G<9I+&9GH
          8;HE9;;H             4KCC/'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                        GL      ;    GL    GJ9I+&9GH     ;J9?159GH                                                                             8;HE9;;H                ;J9?159GH
          8;HE9;G;             4KCC/'9'31M'8/-B+/-A31M,$#'98)6A3+,BK-6'9'I+#-/$+K6           GL      ;    GL    =L9I+/9GH     G=9!B/9GH                                                              8;HE9;G;              G=9!B/9GH
          8;HE9;GG             4KCC/'9'R/+&A.@5-/'2%@A!BB'9'8)6A3+,BK-6'9'I+#-/$+K6           L      ;     L    GL9!B/9GH     GH9!B/9GH                                                                     8;HE9;GG           GH9!B/9GH
          8;HE9;GS             4KCC/'9'31M'4+MA)-K$%-/''9'I+#-/$+K6                          J;      ;    J;    ==9!B/9GH     ;J9?159GH                                                                      8;HE9;GS                       ;J9?159GH
       !"#$%&'
         8;D9;;L               XI`'9'O$FA!@+/F'9'I+6C5/&                                     GL     ==     D    GS94-M9GH'!   =L9I+/9GH                                                    8;D9;;L                     =L9I+/9GH
         8;D9;;H               XI`'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                          GL      ;    GL    J;9!B/9GH     =;9I+&9GH                                                                         8;D9;;H                =;9I+&9GH
         8;D9;G;               XI`'9'31M'8/-B+/-A31M,$#'9'3)6A8)6'9'I+#-/$+K6                GL      ;    GL    =T9I+/9GH     GL9!B/9GH                                                               8;D9;G;                 GL9!B/9GH
         8;D9;GG               XI`'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6                 L      ;     L    GT9!B/9GH     ==9!B/9GH                                                                     8;D9;GG            ==9!B/9GH
         8;D9;GS               XI`'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                             =;      ;    =;    =J9!B/9GH     =;9I+&9GH                                                                       8;D9;GS                  =;9I+&9GH
       ()**+
         8;L9;;L               33'9'O$FA!@+/F'9'3#/1"#1/+K'3#--K                             =;     =D     ;    JG9?+59GH'!   ;T9I+/9GH'!                                              8;L9;;L                  ;T9I+/9GH'!
         8;L9;;H               33'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                           GL      ;    GL    ==9I+&9GH     G=9?159GH                                                                                 8;L9;;H               G=9?159GH
         8;L9;G;               33'9'31M'8/-B+/-A31M,$#'3)6'9'!J'9'O+/A?C$6#')-"Q             GL     G;    GL    ;T9I+/9GH'!   ;H9!B/9GH                                                          8;L9;G;                  ;H9!B/9GH
         8;L9;GG               33'9'R/+&A.@5-/'2%@A!BB'3)6'9'!J'9'O+/A?C$6#')-"Q              L      ;     L    G;9!B/9GH     GT9!B/9GH                                                                    8;L9;GG            GT9!B/9GH
         8;L9;GS               33'9'31M'4+MA)-K$%-/''9'!J'9'O+/A?C$6#')-"Q                   J;      ;    J;    G<9!B/9GH     =H9I+&9GH                                                                     8;L9;GS                        =H9I+&9GH
         8;L9;=;               33'9'31M'8/-B+/-A31M,$#'3)6'9'!J'9'3#/1"#Z'3#K                =;     G;    GL    ;T9I+/9GH'!   ;H9!B/9GH                                                          8;L9;=;                  ;H9!B/9GH
         8;L9;=G               33'9'R/+&A.@5-/'2%@A!BB'3)6'9'!J'9'3#/1"#Z'3#K                 L      ;     L    G;9!B/9GH     GT9!B/9GH                                                                    8;L9;=G            GT9!B/9GH
         8;L9;=S               33'9'31M'4+MA)-K$%-/''9'!J'9'3#/1"#Z'3#K                      D;      ;    D;    G<9!B/9GH     G=9?159GH                                                                     8;L9;=S                           G=9?159GH
         I$6"-KK+5-C16'3#--K
          8;L,9;G;             I3'9'31M'8/-B+/-A31M,$#'3)6'9'!J'9'3#+$/6                     =L      ;    =L    G;9!B/9GH     GD9I+&9GH                                                                 8;L,9;G;                     GD9I+&9GH
          8;L,9;GG             I3'9'R/+&A.@5-/'2%@A!BB'3)6'9'!J'9'3#+$/6                      L      ;     L    GL9I+&9GH     =G9I+&9GH                                                                            8;L,9;GG            =G9I+&9GH
          8;L,9;GS             I3'9'31M'4+MA)-K$%-/''9'!J'9'3#+$/6                           J;      ;    J;    ==9I+&9GH      ;J9?1K9GH                                                                               8;L,9;GS                    ;J9?1K9GH
          8;L,9;=;             I3'9'31M'8/-B+/-A31M,$#'3)6'9'!=A!D'9'3#+$/6                  GL      ;    GL    GL9I+&9GH     ;L9?159GH                                                                            8;L,9;=;                  ;L9?159GH
          8;L,9;=G             I3'9'R/+&A.@5-/'2%@A!BB'3)6'9'!=A!D'9'3#+$/6                   L      ;     L    ;T9?159GH     G=9?159GH                                                                                   8;L,9;=G            G=9?159GH
          8;L,9;=S             I3'9'31M'4+MA)-K$%-/''9'!=A!D'9'3#+$/6                        J;      ;    J;    GJ9?159GH      =L9?1K9GH                                                                                      8;L,9;=S                    =L9?1K9GH
          8;L,9;J;             I3'9'31M'8/-B+/-A31M,$#'3)6'9'!G'9'3#+$/6                     GL      ;    GL    ;T9?159GH     =T9?159GH                                                                                   8;L,9;J;               =T9?159GH
          8;L,9;JG             I3'9'R/+&A.@5-/'2%@A!BB'3)6'9'!G'9'3#+$/6                      L      ;     L    =<9?159GH      ;J9?1K9GH                                                                                         8;L,9;JG          ;J9?1K9GH
          8;L,9;JS             I3'9'31M'4+MA)-K$%-/''9'!G'9'3#+$/6                           J;      ;    J;     ;L9?1K9GH    GL9!109GH                                                                                            8;L,9;JS                      GL9!109GH
          8;L,9;D;             I3'9'31M'8/-B+/-A31M,$#'3)6'9'8$#A^/-5"7'(,M-F6               =L      ;    =L    G;9!B/9GH     GD9I+&9GH                                                                 8;L,9;D;                     GD9I+&9GH
          8;L,9;DG             I3'9'R/+&A.@5-/'2%@A!BB'3)6'9'8$#A^/-5"7'(,M-F6                L      ;     L    GL9I+&9GH     =G9I+&9GH                                                                            8;L,9;DG            =G9I+&9GH
          8;L,9;DS             I3'9'31M'4+MA)-K$%-/'9'8$#A^/-5"7'(,M-F6                      J;      ;    J;    ==9I+&9GH      ;J9?1K9GH                                                                               8;L,9;DS                    ;J9?1K9GH
          8;L,9;L;             I3'9'31M'8/-B+/-A31M,$#'3)6'9'I$6"'3#--K                      =L      ;    =L    G;9!B/9GH     GD9I+&9GH                                                                 8;L,9;L;                     GD9I+&9GH
          8;L,9;LG             I3'9'R/+&A.@5-/'2%@A!BB'3)6'9'I$6"'3#--K                       L      ;     L    GL9I+&9GH     =G9I+&9GH                                                                            8;L,9;LG            =G9I+&9GH
          8;L,9;LS             I3'9'31M'4+MA)-K$%-/'9'I$6"'3#--K                             J;      ;    J;    ==9I+&9GH      ;J9?1K9GH                                                                               8;L,9;LS                    ;J9?1K9GH
       !,++-$&.
         8;T9;;L               X+6-'9'O$FA!@+/F'9'X+6-@C/Q                                   GL      ;    GL    ;H9I+&9GH     J;9I+&9GH                                                                            8;T9;;L                 J;9I+&9GH
         8;T9;;H               X+6-'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                         GL      ;    GL     =H9?1K9GH    GT9!109GH                                                                                                      8;T9;;H             GT9!109GH
         8;T9;G;               X+6-'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6                 =;      ;    =;    JG9I+&9GH     =<9?159GH                                                                                   8;T9;G;                 =<9?159GH
         8;T9;GG               X+6-'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6                L      ;     L    =S9?159GH      ;L9?1K9GH                                                                                           8;T9;GG           ;L9?1K9GH
         8;T9;GS               X+6-'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                            J;      ;    J;     ;S9?1K9GH    GT9!109GH                                                                                              8;T9;GS                     GT9!109GH
                                                                                                                                                                                                                                                                                                                                                        Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 7 of 17




       /0,+1,%234%5+$#0&*
         2CCE$50
          8;<9;;L              2CCE'9'O$FA!@+/F'9'2CCE$50                                    GL      ;    GL    =T9I+/9GH     GL9!B/9GH                                                               8;<9;;L                 GL9!B/9GH
          8;<9;;H              2CCE'9'8/-9"C56#'I--#$50A31M'ICM$K$V-                         GL      ;    GL    G=9?159GH      ;=9?1K9GH                                                                                       8;<9;;H             ;=9?1K9GH
          8;<9;G;              2CCE'9'31M'8/-B+/-A31M,$#'3)6A8)6'9'I+#-/$+K6                 =;      ;    =;    GT9!B/9GH     GJ9I+&9GH                                                                     8;<9;G;                  GJ9I+&9GH
          8;<9;GG              2CCE'9'R/+&A.@5-/'2%@A!BB'9'3)6A8)6'9'I+#-/$+K6                L      ;     L    GD9I+&9GH     =;9I+&9GH                                                                              8;<9;GG           =;9I+&9GH
          8;<9;GS              2CCE'9'31M'4+MA)-K$%-/'9'I+#-/$+K6                            J;      ;    J;    =G9I+&9GH      ;=9?1K9GH                                                                                8;<9;GS                    ;=9?1K9GH

  !"#$"%&#"'%(%)*+,-.+)/                         !"#1+K                          X/$#$"+K                                                                  *+,-./0!012,3!40                                                                                                                            !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                          2-,+$5$50                       I$K-6#C5-                                                                                                                                                                                                               $%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                      ,56'&77!2896;<76                                                                                                                           !#%"&%
                                                                                                                                                                                                                                                                                                                                                        PageID 61
!"#$%$#&'()                !"#$%$#&'*+,-                                               ./$0   !"#   2-,     3#+/#         4$5$67      F9EP                                                                                              F9EH                                                                        F9F9
                                                                                       )1/    )1/   )1/
                                                                                                                                         Q1?   !10   3-I   ."#      *J%      )-"       Q+5    4-K     G+/        !I/      G+&       Q15       Q1?      !10      3-I   ."#     *J%   )-"   Q+5   4-K   G+/     !I/   G+&    Q15   Q1?   !10   3-I
          89;"<99=         >+1?@'<'A$BC!D+/B'<'>+1?@$50                                E=      9    E=    F9<G+/<EH     9H<!I/<EH                                                            89;"<99=               9H<!I/<EH
          89;"<99H         >+1?@'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                      E=      9    E=    FM<!I/<EH     EM<G+&<EH                                                                     89;"<99H                EM<G+&<EH
          89;"<9E9         >+1?@'<'31K'8/-I+/-C31K,$#'3)6C8)6'<'G+#-/$+?6              E9      9    E9    E9<!I/<EH     FN<!I/<EH                                                                89;"<9E9                FN<!I/<EH
          89;"<9EE         >+1?@'<'O/+&C.D5-/'2%DC!II'<'3)6C8)6'<'G+#-/$+?6             =      9     =    FM<!I/<EH     N9<!I/<EH                                                                     89;"<9EE            N9<!I/<EH
          89;"<9EP         >+1?@'<'31K'4+KC)-?$%-/'<'G+#-/$+?6                         E9      9    E9    9E<G+&<EH     EM<G+&<EH                                                                       89;"<9EP              EM<G+&<EH
         3$B$50
          89;$<99=         (G8'<'A$BC!D+/B'<'(561?+#-B'G-#+?'8+5-?6                    F9     NN     ;    9E<4-K<EH'!   FP<G+/<EH                                              89;$<99=                        FP<G+/<EH
          89;$<99H         (G8'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                        E=      9    E=    E;<Q15<EH      9P<Q1?<EH                                                                                      89;$<99H                9P<Q1?<EH
          89;$<9E9         (G8'<'31K'8/-I+/-C31K,$#'3)6'<'!N'<'(G8                     E=      9    E=    FH<G+/<EH     EP<!I/<EH                                                              89;$<9E9                 EP<!I/<EH
          89;$<9EE         (G8'<'O/+&C.D5-/'2%DC!II'3)6'<'!N'<'(G8                      =      9     =    EH<!I/<EH     F=<!I/<EH                                                                     89;$<9EE           F=<!I/<EH
          89;$<9EP         (G8'<'31K'4+KC)-?$%-/''<'!N'<'(G8                           N9      9    N9    FR<!I/<EH     9;<Q15<EH                                                                       89;$<9EP                      9;<Q15<EH
          89;$<9F9         (G8'<'31K'8/-I+/-C31K,$#'3)6'<'!E'<'(G8                     E9      9    E9    EH<!I/<EH     9F<G+&<EH                                                                     89;$<9F9              9F<G+&<EH
          89;$<9FE         (G8'<'O/+&C.D5-/'2%DC!II'3)6'<'!E'<'(G8                      =      9     =    9N<G+&<EH     9H<G+&<EH                                                                         89;$<9FE           9H<G+&<EH
          89;$<9FP         (G8'<'31K'4+KC)-?$%-/''<'!E'<'(G8                           N9      9    N9    E9<G+&<EH     FE<Q15<EH                                                                           89;$<9FP                       FE<Q15<EH
          89;$<9N9         (G8'<'31K'8/-I+/-C31K,$#'3)6'<'!FC!M'<'(G8                  E9      9    E9    9N<G+&<EH     ER<G+&<EH                                                                         89;$<9N9               ER<G+&<EH
          89;$<9NE         (G8'<'O/+&C.D5-/'2%DC!II'3)6'<'!FC!M'<'(G8                   =      9     =    E;<G+&<EH     FN<G+&<EH                                                                            89;$<9NE             FN<G+&<EH
          89;$<9NP         (G8'<'31K'4+KC)-?$%-/''<'!FC!M'<'(G8                        N9      9    N9    FM<G+&<EH      9P<Q1?<EH                                                                               89;$<9NP                       9P<Q1?<EH
       !""#$%&%'()*"+$
         .CS')JJ/6
          89P<99=          .CS')'<'A$BC!D+/B'<'.%-/7-+B')JJ/6                          E=     MN     ;    EP<Q+5<EH'!   FP<G+/<EH                                            89P<99=                           FP<G+/<EH
          89P<99H          .CS')'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                      E=      9    E=    9N<G+&<EH     FN<G+&<EH                                                                         89P<99H                 FN<G+&<EH
          89P<9E9          .CS')'<'31K'8/-I+/-C31K,$#'3)6C8)6'<'!TT'U&I-6              E=      9    E=    FH<G+/<EH     EP<!I/<EH                                                              89P<9E9                  EP<!I/<EH
          89P<9EE          .CS')'<'O/+&C.D5-/'2%DC!II'<'3)6C8)6'<'!TT'U&I-6             =      9     =    EH<!I/<EH     F=<!I/<EH                                                                     89P<9EE            F=<!I/<EH
          89P<9EP          .CS')'<'31K'4+KC)-?$%-/'<'!TT'U&I-6                         F9      9    F9    FR<!I/<EH     FN<G+&<EH                                                                       89P<9EP                   FN<G+&<EH
         G+5BJJ/6
          89P,<99=         GC)'<'A$BC!D+/B'<'G+5BJJ/6                                  E=     MN     ;    EP<Q+5<EH'!   9F<!I/<EH                                          89P,<99=                               9F<!I/<EH
          89P,<99H         GC)'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                        E=      9    E=    N9<G+&<EH     EH<Q15<EH                                                                                89P,<99H                  EH<Q15<EH
          89P,<9E9         GC)'<'31K'8/-I+/-C31K,$#'3)6'<'>GV'W'8/-<>+6#'4/+,-6        E=      9    E=    9N<!I/<EH     FN<!I/<EH                                                              89P,<9E9                  FN<!I/<EH
          89P,<9EE         GC)'<'O/+&C.D5-/'2%DC!II'<'3)6'<'>GV'W'8/-<>+6#'4/+,-6       =      9     =    FM<!I/<EH     N9<!I/<EH                                                                     89P,<9EE            N9<!I/<EH
          89P,<9EP         GC)'<'31K'4+KC)-?$%-/''<'>GV'W'8/-<>+6#'4/+,-6              E=      9    E=    9E<G+&<EH     FE<G+&<EH                                                                       89P,<9EP                  FE<G+&<EH
          89P,<9F9         GC)'<'31K'8/-I+/-C31K,$#'3)6'<'2-,+$5'4/+,-6C)JJ/'6?+K6     E9      9    E9    FM<!I/<EH     9;<G+&<EH                                                                     89P,<9F9               9;<G+&<EH
          89P,<9FE         GC)'<'O/+&C.D5-/'2%DC!II'<'3)6'<'2-,+$5'4/+,-6C)JJ/'6?+K6    =      9     =    9P<G+&<EH     EM<G+&<EH                                                                         89P,<9FE            EM<G+&<EH
          89P,<9FP         GC)'<'31K'4+KC)-?$%-/'<'2-,+$5'4/+,-6C)JJ/'6?+K6            N9      9    N9    E=<G+&<EH     FR<Q15<EH                                                                           89P,<9FP                         FR<Q15<EH
          89P,<9N9         GC)'<'31K'8/-I+/-C31K,$#'<'8)6'<')JJ/'S+/BD+/-              F9      9    F9    9N<!I/<EH     N9<!I/<EH                                                              89P,<9N9                   N9<!I/<EH
          89P,<9NE         GC)'<'O/+&C.D5-/'2%DC!II'<'8)6'<')JJ/'S+/BD+/-               =      9     =    9E<G+&<EH     9;<G+&<EH                                                                       89P,<9NE             9;<G+&<EH
          89P,<9NP         GC)'<'31K'4+KC)-?$%-/'<'')JJ/'S+/BD+/-                      N9      9    N9    9P<G+&<EH     EH<Q15<EH                                                                         89P,<9NP                         EH<Q15<EH
       ,()($-.$
         89H<99=           8+$5#'<'A$BC!D+/B'<'(5#-/$J/'8+$5#$50                       F9      9    F9    9H<G+&<EH     9R<Q15<EH                                                                           89H<99=                   9R<Q15<EH
         89H<99H           8+$5#'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                      E=      9    E=     9P<Q1?<EH     FR<Q1?<EH                                                                                               89H<99H             FR<Q1?<EH
         89H<9E9           8+$5#'<'31K'8/-I+/-C31K,$#'<8)6C3+,I?-6'<'G+#-/$+?6         E=      9    E=    9;<Q15<EH     F;<Q15<EH                                                                                      89H<9E9               F;<Q15<EH
         89H<9EE           8+$5#'<'O/+&C.D5-/'2%DC!II'<'8)6C3+,I?-6'<'G+#-/$+?6         =      9     =    FP<Q15<EH      9=<Q1?<EH                                                                                          89H<9EE            9=<Q1?<EH
         89H<9EP           8+$5#'<'31K'4+KC)-?$%-/''<'G+#-/$+?6                        E=      9    E=     9P<Q1?<EH     FR<Q1?<EH                                                                                               89H<9EP             FR<Q1?<EH
       /0.1(234(.$
         8E9<99=           3I-"'<'A$BC!D+/B'<'3I-"$+?#$-6                              F9     MN    E9    EP<Q+5<EH'!   F9<Q15<EH                                            8E9<99=                                                       F9<Q15<EH
         8E9<99H           3I-"'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                       E=      9    E=    EH<!10<EH     9H<3-I<EH                                                                                                            8E9<99H              9H<3-I<EH
         8E9<9E9           3I-"'<'31K'8/-I+/-C31K,$#'<3)6C8)6'<'G+#-/$+?6              F9      9    F9    FE<Q15<EH      EH<Q1?<EH                                                                                        8E9<9E9                   EH<Q1?<EH
         8E9<9EE           3I-"'<'O/+&C.D5-/'2%DC!II'<'3)6C8)6'<'G+#-/$+?6              =      9     =     FF<Q1?<EH     FR<Q1?<EH                                                                                                  8E9<9EE          FR<Q1?<EH
         8E9<9EP           3I-"'<'31K'4+KC)-?$%-/''<'G+#-/$+?6                         N9      9    N9     FH<Q1?<EH    9H<3-I<EH                                                                                                     8E9<9EP                     9H<3-I<EH
       !"15%678(09.)4
         8EE<99=           )J"@'<'A$BC!D+/B'<')J"@'XY1$I,-5#                           E=     MN     M    EP<Q+5<EH'!   9F<!I/<EH                                            8EE<99=                              9F<!I/<EH
         8EE<99H           )J"@'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                       E=      9    E=    9R<Q15<EH     FR<Q15<EH                                                                                      8EE<99H               FR<Q15<EH
         8EE<9E9           )J"@'<'31K'8/-I+/-C31K,$#'<3)6C8)6'<'G+#-/$+?6              E=      9    E=    9N<!I/<EH     FN<!I/<EH                                                               8EE<9E9                  FN<!I/<EH
         8EE<9EE           )J"@'<'O/+&C.D5-/'2%DC!II'<'3)6C8)6'<'G+#-/$+?6              =      9     =    FM<!I/<EH     N9<!I/<EH                                                                       8EE<9EE           N9<!I/<EH
         8EE<9EP           )J"@'<'31K'4+KC)-?$%-/''<'G+#-/$+?6                         M9      9    M9    9E<G+&<EH     FR<Q15<EH                                                                         8EE<9EP                            FR<Q15<EH
       ;#815%/123.$
         8EF<99=           UC3'<'A$BC!D+/B'<'U/1"@'3"+?-6                              F9     F9     9    9R<)-"<EP'!   9M<Q+5<EH'!                              8EF<99=                9M<Q+5<EH'!
                                                                                                                                                                                                                                                                                                                                                   Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 8 of 17




         8EF<99H           UC3'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                        E=      9    E=    FH<!I/<EH     E;<G+&<EH                                                                        8EF<99H                 E;<G+&<EH
         8EF<9E9           UC3'<'31K'8/-I+/-C31K,$#'<3)6C8)6'<'G+#-/$+?6'Z[F\          E=     MH     9    9;<Q+5<EH'!   E=<G+/<EH'!                                        8EF<9E9                          E=<G+/<EH'!
         8EF<9EE           UC3'<'O/+&C.D5-/'2%DC!II'<'3)6C8)6'<'G+#-/$+?6'Z[F\          =     N9     N    9R<4-K<EH'!   FF<G+/<EH                                                8EF<9EE                     FF<G+/<EH
         8EF<9EP           UC3'<'31K'4+KC)-?$%-/''<'G+#-/$+?6                          M9      9    M9    F=<G+/<EH     E;<G+&<EH                                                             8EF<9EP                            E;<G+&<EH
       <#.=.)>()..#.*%?8(3*()>$
         8EN<99=           8XA'<'A$BC!D+/B'<'8XA'A1$?B$506                             N9     N;     9    9R<)-"<EP'!   N9<Q+5<EH'!                              8EN<99=                      N9<Q+5<EH'!
         8EN<99H           8XA'<'8/-<"J56#'G--#$50C31K'GJK$?$L-                        E=      9    E=    EN<Q15<EH      9N<Q1?<EH                                                                                      8EN<99H               9N<Q1?<EH

  !"#$"%&#"'%(%)*+,-.+)/                     !"#1+?                     >/$#$"+?                                                                     *+,-./0!012,3!40                                                                                                                             !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                      2-,+$5$50                  G$?-6#J5-                                                                                                                                                                                                                   >%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                ,56'&77!2896;<76                                                                                                                            "(?#@?
                                                                                                                                                                                                                                                                                                                                                   PageID 62
!"#$%$#&'()                 !"#$%$#&'*+,-                                                        ./$0   !"#   2-,     3#+/#         4$5$67      H=9M                                                                                          H=9G                                                                            H=H=
                                                                                                 )1/    )1/   )1/
                                                                                                                                                   F1N   !10   3-A   ."#      *S%    )-"     F+5      4-@     J+/       !A/      J+&       F15      F1N       !10     3-A   ."#   *S%      )-"      F+5   4-@   J+/     !A/   J+&    F15   F1N   !10   3-A
         89;<=9=            8>?'<'31@'8/-A+/-B31@,$#'<3)6'<'!?C6                                 9=     ;D     E    ;=<F+5<9G'!   HI<J+/<9G                                             89;<=9=                         HI<J+/<9G
         89;<=99            8>?'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'!?C6                             D      =     D    HM<J+/<9G     =;<!A/<9G                                                            89;<=99           =;<!A/<9G
         89;<=9H            8>?'<'31@'4+@B)-N$%-/''<'!?C6                                        9=      =    9=    =O<!A/<9G     9I<!A/<9G                                                              89;<=9H              9I<!A/<9G
         89;<=H=            8>?'<'31@'8/-A+/-B31@,$#'<3)6'<'!/-+'O                               H=     ;D    H=    ;=<F+5<9G'!   9E<!A/<9G                                             89;<=H=                               9E<!A/<9G
         89;<=H9            8>?'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'!/-+'O                           D      =     D    9I<!A/<9G     H;<!A/<9G                                                                   89;<=H9           H;<!A/<9G
         89;<=HM            8>?'<'31@'4+@B)-N$%-/'<'!/-+'O                                       D=      =    D=    HO<!A/<9G      =;<F1N<9G                                                                   89;<=HM                               =;<F1N<9G
         89;<=;=            8>?'<'31@'8/-A+/-B31@,$#'<3)6'<'P$%-'?$/Q                            H=     ;D    H=    ;=<F+5<9G'!   9E<!A/<9G                                             89;<=;=                               9E<!A/<9G
         89;<=;9            8>?'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'P$%-'?$/Q                        D      =     D    9I<!A/<9G     H;<!A/<9G                                                                   89;<=;9           H;<!A/<9G
         89;<=;M            8>?'<'31@'4+@B)-N$%-/'<'P$%-'?$/Q                                    D=      =    D=    HO<!A/<9G      =;<F1N<9G                                                                   89;<=;M                               =;<F1N<9G
         89;0<==D           KB3'<'?$QB!L+/Q'<'K1+/Q67+"R                                         H=     H=     =    =E<)-"<9M'!   =O<F+5<9G'!                          89;0<==D               =O<F+5<9G'!
         89;0<==G           KB3'<'8/-<"S56#'J--#$50B31@'JS@$N$T-                                 9D      =    9D    9E<F+5<H=     =D<4-@<H=                                                                                                                                              89;0<==G          =D<4-@<H=
         89;0<=9=           KB3'<'31@'8/-A+/-B31@,$#'<3)6'<'K1+/Q67+"R                           H=     HD     =    =I<F+5<9G'!   99<4-@<9G'!                                   89;0<=9=                 99<4-@<9G'!
         89;0<=99           KB3'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'K1+/Q67+"R                       D     H9     =    99<4-@<9G'!   9H<J+/<9G'!                                            89;0<=99                 9H<J+/<9G'!
         89;0<=9M           KB3'<'31@'4+@B)-N$%-/''<'K1+/Q67+"R                                  D=      E    OO    9H<J+/<9G'!   =D<4-@<H=                                                        89;0<=9M                                                                                                =D<4-@<H=
       !"#$%&"'()&*#+
         89O<==D            JBP'<'?$QB!L+/Q'<'J+#-/$+N'P$U#6                                     9H     9H     =    =E<)-"<9M'!   H9<)-"<9M'!                              89O<==D         H9<)-"<9M'!
         89O<==G            JBP'<'8/-<"S56#'J--#$50B31@'JS@$N$T-                                 9D      =    9D    9;<3-A<9G      =O<."#<9G                                                                                                              89O<==G            =O<."#<9G
         89O<=9=            JBP'<'31@'8/-A+/-B31@,$#'<3)6B8)6'<'J+#-/$+N6'VWHX                   H=     D=     =    HO<)-"<9M'!   =E<J+/<9G'!                                 89O<=9=                            =E<J+/<9G'!
         89O<=99            JBP'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'J+#-/$+N6'VWHX                   D     HG     =    =O<4-@<9G'!   9D<J+/<9G'!                                            89O<=99                   9D<J+/<9G'!
         89O<=9M            JBP'<'31@'4+@B)-N$%-/''<'J+#-/$+N6                                   E=      =    E=     99<F1N<9G     =O<."#<9G                                                                                            89O<=9M                              =O<."#<9G
       !$,-".&,"'
         8HH<==D            YBK'<'?$QB!L+/Q'<'YBK'3+5$#+/&B8/S"-66                               H=      G     =    HM<4-@<9G'!   9;<J+/<9G'!                                                 8HH<==D             9;<J+/<9G'!
         8HH<==G            YBK'<'8/-<"S56#'J--#$50B31@'JS@$N$T-                                 9D      =    9D    ;=<J+&<9G     9G<F15<9G                                                                               8HH<==G                 9G<F15<9G
         8HH<=9=            YBK'<'31@'8/-A+/-B31@,$#'<3)6B8)6'<'3+5'J#/N6                        ;=      =    ;=    H=<J+/<9G     ;=<!A/<9G                                                          8HH<=9=                     ;=<!A/<9G
         8HH<=99            YBK'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'3+5'J#/N6                        D      =     D    =9<J+&<9G     =I<J+&<9G                                                                      8HH<=99            =I<J+&<9G
         8HH<=9M            YBK'<'31@'4+@B)-N$%-/'<'3+5'J#/N6                                    ;=      =    ;=    =M<J+&<9G     9G<F15<9G                                                                         8HH<=9M                       9G<F15<9G
         8HH<=H=            YBK'<'31@'8/-A+/-B31@,$#'<3)6B8)6'<'Z+6#-'J#/N6                      ;=      =    ;=    H=<J+/<9G     ;=<!A/<9G                                                          8HH<=H=                     ;=<!A/<9G
         8HH<=H9            YBK'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'Z+6#-'J#/N6                      D      =     D    =9<J+&<9G     =I<J+&<9G                                                                      8HH<=H9            =I<J+&<9G
         8HH<=HM            YBK'<'31@'4+@B)-N$%-/'<'Z+6#-'J#/N6                                  ;=      =    ;=    =M<J+&<9G     9G<F15<9G                                                                         8HH<=HM                       9G<F15<9G
         8HH<=;=            YBK'<'31@'8/-A+/-B31@,$#'<3)6B8)6'<'[/-5"7'J#/N6                     ;=      =    ;=    H=<J+/<9G     ;=<!A/<9G                                                          8HH<=;=                     ;=<!A/<9G
         8HH<=;9            YBK'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'[/-5"7'J#/N6                     D      =     D    =9<J+&<9G     =I<J+&<9G                                                                      8HH<=;9            =I<J+&<9G
         8HH<=;M            YBK'<'31@'4+@B)-N$%-/''<'[/-5"7'J#/N6                                ;=      =    ;=    =M<J+&<9G     9G<F15<9G                                                                         8HH<=;M                       9G<F15<9G
       /'$,#%&,"'
         8HE<==D            4B!'<'?$QB!L+/Q'<'4$/-'!N+/,                                         H=     99     =    9O<4-@<9G'!   =9<J+/<9G'!                                              8HE<==D             =9<J+/<9G'!
         8HE<==G            4B!'<'8/-<"S56#'J--#$50B31@'JS@$N$T-                                 9D      =    9D    9=<J+&<9G     ;9<J+&<9G                                                                         8HE<==G                 ;9<J+&<9G
         8HE<=9=            4B!'<'31@'8/-A+/-B31@,$#'<3)6B8)6'<'J+#-/$+N6                        ;=     9;    9I    =9<J+/<9G'!    99<!A/<9G                                                  8HE<=9=                      99<!A/<9G
         8HE<=99            4B!'<'K/+&B.L5-/'2%LB!AA'<'3)6B8)6'<'J+#-/$+N6                        D      =     D    9H<!A/<9G     9M<!A/<9G                                                                 8HE<=99            9M<!A/<9G
         8HE<=9M            4B!'<'31@'4+@B)-N$%-/''<'J+#-/$+N6                                   ;=      =    ;=    9G<!A/<9G     ;9<J+&<9G                                                                   8HE<=9M                       ;9<J+&<9G
       0&%$(1%2#$,#&2.
         8H9<==G            4B8'<'8/-<"S56#'J--#$50B31@'JS@$N$T-                                 9D      =    9D    HI<F15<9G      9M<F1N<9G                                                                                      8H9<==G                 9M<F1N<9G
         8H9<=9=            4B8'<'31@'8/-A+/-B31@,$#'3)6'<'!;'<'48'8$A$50B!""-66\                9D      =    9D    HO<!A/<9G     9O<J+&<9G                                                                    8H9<=9=               9O<J+&<9G
         8H9<=99            4B8'<'K/+&B.L5-/'2%LB!AA'3)6'<'!;'<'48'8$A$50B!""-66\                 D      =     D    9D<J+&<9G     H9<J+&<9G                                                                           8H9<=99           H9<J+&<9G
         8H9<=9M            4B8'<'31@'4+@B)-N$%-/''<'!;'<'48'8$A$50B!""-66\                      H=      =    H=    HH<J+&<9G     9G<F15<9G                                                                             8H9<=9M                   9G<F15<9G
         8H9<=H=            4B8'<'31@'8/-A+/-B31@,$#'3)6'<'!9'<'48'8$A$50B!""-66\                9=      =    9=    9D<J+&<9G     HG<J+&<9G                                                                           8H9<=H=              HG<J+&<9G
         8H9<=H9            4B8'<'K/+&B.L5-/'2%LB!AA'3)6'<'!9'<'48'8$A$50B!""-66\                 D      =     D    ;=<J+&<9G     =D<F15<9G                                                                               8H9<=H9            =D<F15<9G
         8H9<=HM            4B8'<'31@'4+@B)-N$%-/''<'!9'<'48'8$A$50B!""-66\                      H=      =    H=    =E<F15<9G      =;<F1N<9G                                                                                  8H9<=HM                =;<F1N<9G
         8H9<=;=            4B8'<'31@'8/-A+/-B31@,$#'3)6'<'!HB!O'<'48'8$A$50B!""-66\             9=      =    9=    ;=<J+&<9G     9H<F15<9G                                                                               8H9<=;=             9H<F15<9G
         8H9<=;9            4B8'<'K/+&B.L5-/'2%LB!AA'3)6'<'!HB!O'<'48'8$A$50B!""-66\              D      =     D    9;<F15<9G     9G<F15<9G                                                                                    8H9<=;9            9G<F15<9G
         8H9<=;M            4B8'<'31@'4+@B)-N$%-/''<'!HB!O'<'48'8$A$50B!""-66\                   H=      =    H=    H=<F15<9G      9M<F1N<9G                                                                                     8H9<=;M                  9M<F1N<9G

     345678937;45
      ]3Z<====              JS@$N$T-'#S'#7-'3$#-                                                 9=      9     =    =9<J+/<9G'!   =O<J+/<9G'!                                               ]3Z<====            =O<J+/<9G'!
      <$.$%"'(322%=&."#&2.
       >$"#-$%(;?@",#+
         ](Z<====           Z-+#7-/'(5UN1-5"-''VH=9M<H=9GX                                       9D=    9;G   99    =9<*S%<9M'!   ;=<J+/<9G                     ](Z<====                                                ;=<J+/<9G
         ](Z<GGGG           <<<<Z-+#7-/'$,A+"#6'Q1/$50'#7$6'A-/$SQ^'+5Q'$U'6S'Z_![')![>3``<<<<    =      =     =     =H<F1N<9G                                                                                                    ](Z<GGGG          =H<F1N<9G^'
      6;7/>48A
                                                                                                                                                                                                                                                                                                                                                             Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 9 of 17




       6&#$B2%C(DE(4#-$%+
         ].3<;DM            3BZ'W9'<']N-+/B2S107'K/+Q-B?1$NQ$50'8+Q'8/-A+/-Q                     9=E    99G   I;    HM<3-A<9M'!    =9<F1N<9G             ].3<;DM                                                                                    =9<F1N<9G
         ].3<;DG            3BZ'W9'<')>P!a>)'_!*).b>2                                            ED     IM     9    HM<*S%<9M'!    =9<F1N<9G                          ].3<;DG                                                                       =9<F1N<9G
         ].3<;E=            3BZ'W9'<'?1$NQ$50'8+Q'2-+Q&'US/'K/+&                                  =      =     =                   =9<F1N<9G                                                                                        ].3<;E=         =9<F1N<9G
         ].3<;E9            3BZ'W9'<'>/S6$S5']S5#/SN'_+5QS%-/                                     =      =     =                   =9<F1N<9G                                                                                        ].3<;E9         =9<F1N<9G
       <%"EF+(6&#$B2%C


  !"#$"%&#"'%(%)*+,-.+)/                      !"#1+N                          ]/$#$"+N                                                                         *+,-./0!012,3!40                                                                                                                             !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                       2-,+$5$50                       J$N-6#S5-                                                                                                                                                                                                                       @%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                          ,56'&77!2896;<76                                                                                                                            "(?#@?
                                                                                                                                                                                                                                                                                                                                                             PageID 63
!"#$%$#&'()                !"#$%$#&'*+,-                                                  ./$0   !"#   2-,     3#+/#      4$5$67     GFAW                                                                      GFAJ                                                                                              GFGF
                                                                                          )1/    )1/   )1/
                                                                                                                                        H1I   !10   3-L   ."#   *D%   )-"   H+5   4-V   Q+/   !L/   Q+&     H15      H1I      !10      3-L        ."#      *D%       )-"        H+5     4-V       Q+/     !L/    Q+&    H15   H1I   !10   3-L
         893;<=<           3>?'@A';'31/%-&'BC$6#$50'8D5E$#$D56                             =      F     =    FG;H1I;AJ   AF;H1I;AJ                                                                   893;<=<            AF;H1I;AJ
         893;<=K           3>?'@A';'9/+&'!""-L#+5"-'DM'N1$IE$50'O+E                        F      F     F    AA;H1I;AJ                                                                                893;<=K           AA;H1I;AJf'
         893;<=P           3>?'@A';'4$/-'Q+$5'RDDL'(56#+II+#$D5                           PF      F    PF    AA;H1I;AJ   AJ;3-L;AJ                                                                    893;<=P                                AJ;3-L;AJ
         893;<==           3>?'@G';'8D5"/-#-')D"S'!/-+6                                   <F      F    <F    FT;."#;AJ   AP;*D%;AJ                                                                                               893;<==                         AP;*D%;AJ
         893;<=T           3>?'@G';'3$#-'O+%$50                                           KF      F    KF    FT;."#;AJ   F<;)-";AJ                                                                                               893;<=T                               F<;)-";AJ
      1)G57(G8/G6
       G%$"(H(I(/J&+K(3L#IM$D2.$K(7%"EI1",CK(4J$%B%"@
         9/+&U6'3"DL-
          Q$I-6#D5-6
              8!A;FP       !A';'N1$IE$50'O+E'2-+E&                                         F      F     F    AA;H1I;AJ                                                                                     8!A;FP       AA;H1I;AJf'
              8!A;AF       !A';'4D15E+#$D56'2-+E&                                          F      F     F    A=;!10;AJ                                                                                               8!A;AF         A=;!10;AJf'
              8!A;GF       !A';'3I+V'8D,LI-#-                                              F      F     F                <F;)-";AJ                                                                                                                            8!A;GF            <F;)-";AJ
              8!A;GP       !A';'3#/1"#1/-'8D,LI-#-                                         F      F     F                AT;)-";AJ                                                                                                                         8!A;GP          AT;)-";AJ
              8!A;KW       !A';'!/-+6'?-+#7-/'O/D#-"#-E                                    F      F     F                GK;)-";AJ                                                                                                                           8!A;KW         GK;)-";AJ
              8!A;T=       !A';'.>X'4O'O$L$50'8D,LI-#-                                     F      F     F                AF;)-";AJ                                                                                                                       8!A;T=         AF;)-";AJ
              8!A;WF       !A';'2-+E&'MD/'.Y5-/'BZ1$L,-5#')-I$%-/&                         F      F     F                AA;Q+/;GF                                                                                                                                                     8!A;WF       AA;Q+/;GF
              8!A;WG       !A';'2-+E&'MD/'O/D"-66>.Y5-/'(56#+II                            F      F     F                AA;Q+/;GF                                                                                                                                                     8!A;WG       AA;Q+/;GF
              8!A;J=       !A';'31LLD/#'!/-+6'8D,LI-#-                                     F      F     F                FK;Q+/;GF                                                                                                                                                 8!A;J=          FK;Q+/;GF
              8!A;JW       !A';'2-+E&'MD/'.Y5-/'2-%$-Y                                     F      F     F    AJ;Q+/;GF                                                                                                                                                                   8!A;JW         AJ;Q+/;GFf'
          4D15E+#$D56
              8!A;F<FA     !A';'(56#+II'9-DL$-/6                                          AW      F    AW    AA;H1I;AJ   FP;!10;AJ                                                                    8!A;F<FA                  FP;!10;AJ
              8!A;F<AA     !A';'B>4>2>B,>O'4*)'8+L6>9/+E-'N-+,6';'3-Z'A>.MM$"-             W      F     W    A=;H1I;AJ   GP;H1I;AJ                                                                        8!A;F<AA          GP;H1I;AJ
              8!A;F<AG     !A';'B>4>2>B,>O'4*)'8+L6>9/+E-'N-+,6';'3-Z'G                    W      F     W    G<;H1I;AJ   FA;!10;AJ                                                                         8!A;F<AG            FA;!10;AJ
              8!A;F<A<     !A';'B>4>2>B,>O'4*)'8+L6>9/+E-'N-+,6';'3-Z'<                    W      F     W    <F;H1I;AJ   FW;!10;AJ                                                                           8!A;F<A<           FW;!10;AJ
              8!A;F<AK     !A';'B>4>2>B,>O'4*)'8+L6>9/+E-'N-+,6';'3-Z'K                    W      F     W    F=;!10;AJ   AP;!10;AJ                                                                            8!A;F<AK              AP;!10;AJ
              8!A;JFAA     !A';'B.2'R-##-/';'4*)'2-+E&'MD/'O/-"+6#'(56#+II';'3-Z'A         F      F     F                FA;!10;AJ                                                                           8!A;JFAA          FA;!10;AJ
          3#/1"#1/-
              8!A;F<GFC    !A';'2-,D%-'O/-"+6#'N/+"$50';'!RR'!2B!3                        AF      F    AF    FT;*D%;AJ   GF;*D%;AJ                                                                                                       8!A;F<GFC                  GF;*D%;AJ
              8!A;F<GA     !A';'B/-"#'O/-"+6#'[?+II6>N-+,>\--U6]';'3-Z'A>.MM$"-           GF      F    GF    FG;!10;AJ   GJ;!10;AJ                                                                           8!A;F<GA                   GJ;!10;AJ
              8!A;F<GG     !A';'B/-"#'O/-"+6#'[?+II6>N-+,>\--U6]';'3-Z'G                  AP      F    AP    <F;!10;AJ   GF;3-L;AJ                                                                                   8!A;F<GG                GF;3-L;AJ
              8!A;F<G<     !A';'B/-"#'O/-"+6#'[?+II6>N-+,>\--U6]';'3-Z'<                  AP      F    AP    G<;3-L;AJ   AK;."#;AJ                                                                                            8!A;F<G<                  AK;."#;AJ
              8!A;F<GK     !A';'B/-"#'O/-"+6#'[?+II6>N-+,>\--U6]';'3-Z'K                  AP      F    AP    AP;."#;AJ   FK;*D%;AJ                                                                                                  8!A;F<GK                 FK;*D%;AJ
              8!A;F<PA     !A';'9/D1#'O/-"+6#';'3-Z'A>.MM$"-                              GF      F    GF    FP;!10;AJ   <F;!10;AJ                                                                            8!A;F<PA                  <F;!10;AJ
              8!A;F<PG     !A';'9/D1#'O/-"+6#';'3-Z'G                                     AP      F    AP    F<;3-L;AJ   G<;3-L;AJ                                                                                     8!A;F<PG                G<;3-L;AJ
              8!A;F<P<     !A';'9/D1#'O/-"+6#';'3-Z'<                                     AP      F    AP    GK;3-L;AJ   AP;."#;AJ                                                                                            8!A;F<P<                  AP;."#;AJ
              8!A;F<PK     !A';'9/D1#'O/-"+6#';'3-Z'K                                     AP      F    AP    A=;."#;AJ   FP;*D%;AJ                                                                                                  8!A;F<PK                 FP;*D%;AJ
              8!A;FPAP     !A';'B/-"#'3#--I';'.MM$"-'3#/1"#1/-                             P      F     P    GA;*D%;AJ   GT;*D%;AJ                                                                                                             8!A;FPAP              GT;*D%;AJ
              8!A;FPA=     !A';'B/-"#>)-#+$I$50'3#--I';'O1,L'2DD,'NIE0                     P      F     P    GA;*D%;AJ   GT;*D%;AJ                                                                                                             8!A;FPA=              GT;*D%;AJ
              8!A;FPAT     !A';'B/-"#>)-#+$I$50'3#--I';'\/+&'O+"S'3#D/+0-                 AG      F    AG    GP;*D%;AJ   AG;)-";AJ                                                                                                              8!A;FPAT                 AG;)-";AJ
              8!A;FPGP     !A';'3#--I')-#+$I$50';'.MM$"-'3#/1"#1/-                        AF      F    AF    FG;)-";AJ   A<;)-";AJ                                                                                                                8!A;FPGP               A<;)-";AJ
              8!A;FPKP     !A';'?+II'9$/#6>.L-5$50'4/+,$50';'.MM$"-                       AG      F    AG    A=;)-";AJ   FG;H+5;GF                                                                                                                      8!A;FPKP                FG;H+5;GF
              8!A;FPTA     !A';'(56#+II'3#+$/6';'^'8DI_'`>AA                               K      F     K    <F;!10;AJ   FP;3-L;AJ                                                                                   8!A;FPTA            FP;3-L;AJ
              8!A;FPTG     !A';'(56#+II'3#+$/6';'^'a!>a8'.MM$"-'[8DI'\>J]                  K      F     K    <A;)-";AJ   F=;H+5;GF                                                                                                                          8!A;FPTG             F=;H+5;GF
              8!A;FPT<     !A';'(56#+II'3#+$/6';'#D'8DI_'Q>AK                              K      F     K    AP;."#;AJ   AW;."#;AJ                                                                                                  8!A;FPT<            AW;."#;AJ
              8!A;FPTP     !A';'(56#+II'3#+$/6';'#D'.MM$"-'Q-bb                            K      F     K    FG;)-";AJ   FP;)-";AJ                                                                                                                8!A;FPTP             FP;)-";AJ
              8!A;FPJP     !A';'(56#+II'Q-bb')-"S';'.MM$"-'3#/1"#1/-                       G      F     G    A=;)-";AJ   AT;)-";AJ                                                                                                                      8!A;FPJP           AT;)-";AJ
              8!A;JFPF     !A';'\-6#$50'(56L-"#';'O/-"+6#'2-+E&'MD/'N/+"-'2-,D%+I';'!RR    A      F     A    F=;*D%;AJ   F=;*D%;AJ                                                                                                        8!A;JFPF           F=;*D%;AJ
          8D5"/-#-'3I+V6
              8!A;F<=F+    !A';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';'3-Z'A;K                     GP      F    GP    AK;*D%;AJ   GF;)-";AJ                                                                                                         8!A;F<=F+                       GF;)-";AJ
              8!A;F<=FV    !A';'OI+"-',1E',+#'c'3-#'L/-"+6#'\/-5"7';'3-Z'A;K              GP      F    GP    AJ;*D%;AJ   G=;)-";AJ                                                                                                           8!A;F<=FV                       G=;)-";AJ
              8!A;F<=F"    !A';'R+&'$561I+#$D5'MD/'3.9                                    AF      F    AF    AJ;*D%;AJ   FK;)-";AJ                                                                                                           8!A;F<=F"                 FK;)-";AJ
              8!A;F<=FE    !A';'O>2>O'\/1"S')D"S'O$#'N+6->3I+V';'3-Z'A;K                   K      F     K    GA;*D%;AJ   G=;*D%;AJ                                                                                                           8!A;F<=FE               G=;*D%;AJ
              8!A;F<TF+    !A';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'3-Z'A;K                  GP      F    GP    AJ;*D%;AJ   G=;)-";AJ                                                                                                           8!A;F<TF+                       G=;)-";AJ
              8!A;F<TFV    !A';'d>2>4>O'8D5"/-#-'3I+V'[AF'LD1/6]                          GP      F    GP    GA;*D%;AJ   <F;)-";AJ                                                                                                           8!A;F<TFV                          <F;)-";AJ
              8!A;F<JF     !A';'2>4>O'8D5"/-#-'81/V6';'3-Z'A;K                            <F      F    <F    <A;)-";AJ   AA;4-V;GF                                                                                                                          8!A;F<JF                        AA;4-V;GF
              8!A;GGGF     !A';'e>9'3+5$#+/&'O$L$50                                        P      F     P    FT;*D%;AJ   A<;*D%;AJ                                                                                                        8!A;GGGF             A<;*D%;AJ
                                                                                                                                                                                                                                                                                                                                                Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 10 of 17




              8!A;GKGF     !A';'e>9'O/D"-66'?+6#-'O$L$50                                  AP      F    AP    FT;*D%;AJ   GT;*D%;AJ                                                                                                        8!A;GKGF                   GT;*D%;AJ
              8!A;GKKF     !A';'e>9'9I&"DI'O$L$50                                         AP      F    AP    AJ;*D%;AJ   AA;)-";AJ                                                                                                           8!A;GKKF                   AA;)-";AJ
          N1$IE$50'B5"ID61/-
              8!A;F<WF     !A';'4>2>B,>O'2DDM'#DLL$50'3I+V';'3-Z'A;K                      GF      F    GF    AA;*D%;AJ   AF;)-";AJ                                                                                                         8!A;F<WF                     AF;)-";AJ
              8!A;FP=F     !A';'(56#+II'2\e'OI+#MD/,6                                     AP      F    AP    A<;)-";AJ   F=;H+5;GF                                                                                                                      8!A;FP=F                 F=;H+5;GF
              8!A;FPTT     !A';'(56#+II'8/D66'D%-/'6#+$/6'[G]';'\/+&'O+"S'3#D/+0-         AW      F    AW    GF;)-";AJ   A=;H+5;GF                                                                                                                       8!A;FPTT                     A=;H+5;GF


  !"#$"%&#"'%(%)*+,-.+)/                      !"#1+I                        8/$#$"+I                                                                *+,-./0!012,3!40                                                                                                                        !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                       2-,+$5$50                     Q$I-6#D5-                                                                                                                                                                                                         >%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                               ,56'&77!2896;<76                                                                                                                       "(?#@?
                                                                                                                                                                                                                                                                                                                                                PageID 64
!"#$%$#&'()                 !"#$%$#&'*+,-                                                                  ./$0   !"#   2-,     3#+/#      4$5$67     GFAW                                                                     GFAJ                                                                                       GFGF
                                                                                                           )1/    )1/   )1/
                                                                                                                                                         H1I   !10   3-L   ."#   *D%   )-"   H+5   4-V   Q+/   !L/   Q+&    H15     H1I     !10       3-L    ."#       *D%      )-"      H+5      4-V      Q+/     !L/       Q+&    H15       H1I      !10        3-L
              8!A;FTAF      !A';'(56#+II'2DDM$50'3&6#-,';'3-Z'A;K                                          GP      F    GP    AW;*D%;AJ   GK;)-";AJ                                                                                                         8!A;FTAF                   GK;)-";AJ
              8!A;FTA=      !A';'(56#+II'2DDM$50>(QO'3&6#-,';'O1,L'2DD,'NIE0                                =      F     =    FG;)-";AJ   FJ;)-";AJ                                                                                                           8!A;FTA=             FJ;)-";AJ
              8!A;FTAT      !A';'(56#+II'2DDM$50';'\/+&'O+"S'3#D/+0-                                        P      F     P    A<;)-";AJ   AJ;)-";AJ                                                                                                                8!A;FTAT           AJ;)-";AJ
              8!A;FTGP      !A';'(56#+II'(QO'3&6#-,';'.MM$"-                                                K      F     K    F<;H+5;GF   FW;H+5;GF                                                                                                                     8!A;FTGP             FW;H+5;GF
              8!A;FTGT      !A';'(56#+II'(QO'3&6#-,';'\/+&'O+"S'3#D/+0-                                     K      F     K    A<;)-";AJ   AW;)-";AJ                                                                                                                8!A;FTGT           AW;)-";AJ
              8!A;FTJF      !A';'(56#+II'O/-"+6#'8+1IS$50                                                  AW      F    AW    FT;*D%;AJ   FK;)-";AJ                                                                                                      8!A;FTJF                FK;)-";AJ
              8!A;FWAF      !A';'(56#+II'.X)>)D"S'BZ1$L,-5#                                                AF      F    AF    GA;*D%;AJ   F=;)-";AJ                                                                                                         8!A;FWAF               F=;)-";AJ
              8!A;FW=F      !A';'(56#+II'4/+,->)DD/>X+/EY+/-';'BC#-/$D/')DD/6'[!RR]                         P      F     P    <A;)-";AJ   FT;H+5;GF                                                                                                                    8!A;FW=F            FT;H+5;GF
          4$5$67-6
              8!A;FKAT      !A';'(56#+II'8Qe';'3-L+/+#$D5'?+II6'(5'8DI'Q;d>K;AP'[!]                        AW      F    AW    F=;H+5;GF   GJ;H+5;GF                                                                                                                      8!A;FKAT                 GJ;H+5;GF
              8!A;FKAW      !A';'(56#+II'8Qe';'3-L+/+#$D5'?+II6'(5'8DI'H_A;Q>K;AP'[N]                      AW      F    AW    AG;4-V;GF   F=;Q+/;GF                                                                                                                                 8!A;FKAW                F=;Q+/;GF
              8!A;FT<G      !A';'(56#+II'(QO'Y+II6'D5''8DI'K_G'c'd                                          K      F     K    AJ;)-";AJ   GK;)-";AJ                                                                                                                 8!A;FT<G           GK;)-";AJ
              8!A;FT<<      !A';'(56#+II'(QO'Y+II6'D5''8DI'Q                                                W      F     W    FJ;)-";AJ   AW;)-";AJ                                                                                                               8!A;FT<<            AW;)-";AJ
              8!A;FT<T      !A';'(56#+II'(QO'Y+II6';'3-L+/+#$D5'?+II6'(5'8DI'Q;d>K;AP'[!]                  AW      F    AW    G=;)-";AJ   GA;H+5;GF                                                                                                                    8!A;FT<T                 GA;H+5;GF
              8!A;FT<W      !A';'(56#+II'(QO'Y+II6';'3-L+/+#$D5'?+II6'(5'8DI'H_A;Q>K;AP'[N]                AF      F    AF    GG;H+5;GF   FK;4-V;GF                                                                                                                           8!A;FT<W               FK;4-V;GF
              8!A;FT<J      !A';'(56#+II'(QO'Y+II6';'3-L+/+#$D5'?+II6'(5'8DI'H_W;d>A;K'[8]                  P      F     P    FP;4-V;GF   AA;4-V;GF                                                                                                                                8!A;FT<J           AA;4-V;GF
              8!A;FTKG      !A';'(56#+II'8+1IS$50>3-+I$50'^'(QO'D5''8DI'K_G'c'd                             =      F     =    AJ;)-";AJ   GT;)-";AJ                                                                                                                 8!A;FTKG             GT;)-";AJ
              8!A;FTK<      !A';'(56#+II'8+1IS$50>3-+I$50'^'(QO'D5''8DI'Q                                  AG      F    AG    FJ;)-";AJ   GK;)-";AJ                                                                                                               8!A;FTK<             GK;)-";AJ
              8!A;FTKT      !A';'(56#+II'8+1IS$50>3-+I$50'^'(QO';'3-L+/+#$D5'?+II6'(5'8DI'Q;d>K;AP'[!]     GK      F    GK    G=;)-";AJ   GJ;H+5;GF                                                                                                                    8!A;FTKT                   GJ;H+5;GF
              8!A;FTKW      !A';'(56#+II'8+1IS$50>3-+I$50'^'(QO';'3-L+/+#$D5'?+II6'(5'8DI'H_A;Q>K;AP'[N]   AP      F    AP    GG;H+5;GF   AA;4-V;GF                                                                                                                           8!A;FTKW                AA;4-V;GF
              8!A;FTKJ      !A';'(56#+II'8+1IS$50>3-+I$50'^'(QO';'3-L+/+#$D5'?+II6'(5'8DI'H_W;d>A;K'[8]     W      F     W    AG;4-V;GF   GA;4-V;GF                                                                                                                                 8!A;FTKJ             GA;4-V;GF
              8!A;FWGF      !A';'(56#+II'(5#-/$D/'.X')DD/6';'!RR                                           GF      F    GF    AP;H+5;GF   AA;4-V;GF                                                                                                                          8!A;FWGF                 AA;4-V;GF
              8!A;FWTF      !A';'(56#+II'4/+,->)DD/>X+/EY+/-';'(5#-/$D/')DD/6'[!RR]                        GF      F    GF    FP;4-V;GF   F<;Q+/;GF                                                                                                                                8!A;FWTF                 F<;Q+/;GF
              8!A;FJAT      !A';'(56#+II'Q#I'3#1E6';'3-L+/+#$D5'?+II6'(5'8DI'Q;d>K;AP'[!]                  AG      F    AG    <F;H+5;GF   AK;4-V;GF                                                                                                                             8!A;FJAT               AK;4-V;GF
              8!A;FJAW      !A';'(56#+II'Q#I'3#1E6';'3-L+/+#$D5'?+II6'(5'8DI'H_A;Q>K;AP'[N]                AG      F    AG    GG;H+5;GF   F=;4-V;GF                                                                                                                           8!A;FJAW               F=;4-V;GF
              8!A;FJGT      !A';'(56#+II'9&L'NE'[X+50>4$5$67]';'3-L+/+#$D5'?+II6'(5'8DI'Q;d>K;AP'[!]       AW      F    AW    AT;4-V;GF   AA;Q+/;GF                                                                                                                                   8!A;FJGT                AA;Q+/;GF
              8!A;FJGW      !A';'(56#+II'9&L'NE'[X+50>4$5$67]';'3-L+/+#$D5'?+II6'(5'8DI'H_A;Q>K;AP'[N]     AW      F    AW    AF;4-V;GF   FK;Q+/;GF                                                                                                                                 8!A;FJGW                FK;Q+/;GF
              8!A;FJ=F      !A';'4$5+I'O+$5#';'[!II'(#-,6]';'!II'!/-+6                                     GF      F    GF    GF;4-V;GF   AW;Q+/;GF                                                                                                                                    8!A;FJ=F                  AW;Q+/;GF
          BI-"#/$"+I
              8!A;G=TF      !A';'2;(>O1II'?$/->\-/,';'4$/-'!I+/,'?$/$50>)-%$"-6                            PF      F    PF    GK;)-";AJ   FK;Q+/;GF                                                                                                                  8!A;G=TF                               FK;Q+/;GF
          4$/-'O/D#-"#$D5
              8!A;GA<F      !A';'(56#+II'4O'Q+$56>N/+5"7-6';'!RR'!/-+6                                     GF      F    GF    AA;*D%;AJ   AF;)-";AJ                                                                                                      8!A;GA<F                  AF;)-";AJ
              8!A;GAWF      !A';'3#+"S'4O'Q+$5'2$6-/6                                                      AG      F    AG    <A;)-";AJ   A=;H+5;GF                                                                                                                    8!A;GAWF                A=;H+5;GF
              8!A;GAJF      !A';'(56#+II'4O'N-IDY'Q-"7>BI-"'.V6#/1"#$D56';'!RR'!/-+6'[O.3\;\&6D5]          GF      F    GF    GF;H1I;GF   AK;!10;GF                                                                                                                                                                                8!A;GAJF                 AK;!10;GF
          31LLD/#'!/-+6
              8!A;FJJJ      !A';'4$5$67-6'+5E'31LLD/#$50'!/-+6                                             KF      F    KF    FJ;H+5;GF   FK;Q+/;GF                                                                                                                      8!A;FJJJ                           FK;Q+/;GF
         \&6D5U6'3"DL-
          Q-"7+5$"+I>O$L$50
              8!A;DGGAF     !A';'.>X'O/D"-66'O$L$50                                                        AFF     F    AFF   AG;Q+/;GF   <A;H1I;GF                                                                                                                                          8!A;DGGAF                                                  <A;H1I;GF
              8!A;DGGPF     !A';'2-M/$0>Xd!8')1"#YD/S                                                      JF      F    JF    FJ;!L/;GF   AK;!10;GF                                                                                                                                                  8!A;DGGPF                                              AK;!10;GF
          BI-"#/$"+I
              8!A;DG=AF     !A';'31V6#+#$D5                                                                WF      F    WF    AG;Q+/;GF   FG;H1I;GF                                                                                                                                          8!A;DG=AF                                        FG;H1I;GF
              8!A;DG=GF     !A';'8+VI-'\/+&                                                                TF      F    TF    AP;!L/;GF   G<;H1I;GF                                                                                                                                                   8!A;DG=GF                                       G<;H1I;GF
              8!A;DG=<F     !A';'.%-/7-+E'2D107;(5                                                         AFF     F    AFF   AG;Q+/;GF   <A;H1I;GF                                                                                                                                          8!A;DG=<F                                                  <A;H1I;GF
              8!A;DG=PF     !A';')$6#/$V1#$D5'O+5-I6                                                       TF      F    TF    A=;!L/;GF   GK;H1I;GF                                                                                                                                                   8!A;DG=PF                                       GK;H1I;GF
              8!A;DG=WF     !A';'R$07#$50                                                                  PF      F    PF    FA;Q+&;GF   A<;H1I;GF                                                                                                                                                        8!A;DG=WF                                A<;H1I;GF
       G%$"(N(I(8/3/;O;5<
         9/+&U6'3"DL-
          Q$I-6#D5-6
              8!G;FP        !G';'N1$IE$50'O+E'2-+E&                                                         F      F     F    AA;H1I;AJ                                                                                    8!G;FP      AA;H1I;AJf'
              8!G;AF        !G';'4D15E+#$D56'2-+E&                                                          F      F     F    G=;H1I;AJ                                                                                       8!G;AF       G=;H1I;AJf'
              8!G;GF        !G';'3I+V'8D,LI-#-                                                              F      F     F                A=;)-";AJ                                                                                                                    8!G;GF         A=;)-";AJ
              8!G;GP        !G';'3#/1"#1/-'8D,LI-#-                                                         F      F     F                <F;."#;AJ                                                                                                      8!G;GP        <F;."#;AJ
              8!G;KW        !G';'!/-+6'?-+#7-/'O/D#-"#-E                                                    F      F     F                AW;*D%;AJ                                                                                                           8!G;KW         AW;*D%;AJ
              8!G;T=        !G';'.>X'4O'O$L$50'8D,LI-#-                                                     F      F     F                FA;*D%;AJ                                                                                                      8!G;T=        FA;*D%;AJ
              8!G;WF        !G';'2-+E&'MD/'.Y5-/'BZ1$L,-5#')-I$%-/&                                         F      F     F                GA;H+5;GF                                                                                                                              8!G;WF         GA;H+5;GF
                                                                                                                                                                                                                                                                                                                                                                        Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 11 of 17




              8!G;WG        !G';'2-+E&'MD/'O/D"-66>.Y5-/'(56#+II                                            F      F     F                GA;H+5;GF                                                                                                                              8!G;WG         GA;H+5;GF
              8!G;J=        !G';'31LLD/#'!/-+6'8D,LI-#-                                                     F      F     F                AP;H+5;GF                                                                                                                             8!G;J=         AP;H+5;GF
              8!G;JW        !G';'2-+E&'MD/'.Y5-/'2-%$-Y                                                     F      F     F    <F;H+5;GF                                                                                                                                             8!G;JW        <F;H+5;GFf'
          4D15E+#$D56
              8!G;FGWF      !G';'O$#';'(56#+II'37--#'O$I-6                                                  W      F     W    AA;H1I;AJ   GG;H1I;AJ                                                                    8!G;FGWF           GG;H1I;AJ
              8!G;FGWG      !G';'O$#';'BC"+%+#-'O$#                                                        AG      F    AG    G<;H1I;AJ   FT;!10;AJ                                                                        8!G;FGWG           FT;!10;AJ


  !"#$"%&#"'%(%)*+,-.+)/                       !"#1+I                        8/$#$"+I                                                                                *+,-./0!012,3!40                                                                                                                 !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                        2-,+$5$50                     Q$I-6#D5-                                                                                                                                                                                                                  ?%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                                ,56'&77!2896;<76                                                                                                                "(?#@?
                                                                                                                                                                                                                                                                                                                                                                        PageID 65
!"#$%$#&'()                 !"#$%$#&'*+,-                                                              ./$0   !"#   2-,     3#+/#      4$5$67     GFAW                                                                      GFAJ                                                                                         GFGF
                                                                                                       )1/    )1/   )1/
                                                                                                                                                     H1I   !10   3-L   ."#   *D%   )-"   H+5   4-V   Q+/   !L/   Q+&     H15      H1I     !10       3-L     ."#       *D%      )-"        H+5    4-V      Q+/      !L/   Q+&    H15   H1I     !10   3-L
              8!G;FGWW      !G';'O$#';'N+"SM$II'O$#'[(M'2-ZUEf'$-_'5D'67--#'L$I-6]                      P      F     P    AJ;3-L;AJ   GP;3-L;AJ                                                                                         8!G;FGWW           GP;3-L;AJ
              8!G;F<FA      !G';'(56#+II'9-DL$-/6                                                       W      F     W    AA;H1I;AJ   GG;H1I;AJ                                                                    8!G;F<FA             GG;H1I;AJ
              8!G;F<AF      !G';'B>4>2>B,>O'4*)'8+L6>9/+E-'N-+,6';'!RR'!2B!3                            W      F     W    A=;H1I;AJ   GP;H1I;AJ                                                                        8!G;F<AF          GP;H1I;AJ
              8!G;F<KG      !G';'O$#';'Q1E>2>O'O$#'3I+V'c'4*)'[^'TT_='+5E'WG_=]                        AG      F    AG    FW;!10;AJ   G<;!10;AJ                                                                            8!G;F<KG              G<;!10;AJ
              8!G;F<K=      !G';'O$#';'O2>O'O$#'?+II6';'!II'K'6$E-6                                    AP      F    AP    A=;!10;AJ   F=;3-L;AJ                                                                                8!G;F<K=               F=;3-L;AJ
              8!G;FPFW      !G';'O$#';'(56#+II'X+5E/+$I6'+/D15E'O$#                                     K      F     K    FJ;3-L;AJ   AG;3-L;AJ                                                                                      8!G;FPFW          AG;3-L;AJ
              8!G;FTFW      !G';'O$#';'(56#+II'?+#-/L/DDM$50                                            W      F     W    FJ;3-L;AJ   AW;3-L;AJ                                                                                      8!G;FTFW             AW;3-L;AJ
              8!G;JFAF      !G';'B.2'R-##-/';'4*)'2-+E&'MD/'O/-"+6#'(56#+II';'!RR'!2B!3                 F      F     F                FA;!10;AJ                                                                           8!G;JFAF        FA;!10;AJ
          3#/1"#1/-
              8!G;F<GF      !G';'B/-"#'O/-"+6#'[?+II6>N-+,>\--U6]';'!RR'!2B!3                          AG      F    AG    G=;3-L;AJ   AK;."#;AJ                                                                                           8!G;F<GF                AK;."#;AJ
              8!G;F<GFC     !G';'2-,D%-'O/-"+6#'N/+"$50';'!RR'!2B!3                                     <      F     <    GA;."#;AJ   G<;."#;AJ                                                                                                 8!G;F<GFC           G<;."#;AJ
              8!G;F<PF      !G';'9/D1#'O/-"+6#';'!RR'!2B!3                                             AK      F    AK    GT;3-L;AJ   AT;."#;AJ                                                                                           8!G;F<PF                AT;."#;AJ
              8!G;FPKA      !G';'(56#+II'?+II'4/+,$50';'8DI_'X                                          P      F     P    GK;."#;AJ   <F;."#;AJ                                                                                                    8!G;FPKA           <F;."#;AJ
              8!G;JFPF      !G';'\-6#$50'(56L-"#';'O/-"+6#'2-+E&'MD/'N/+"-'2-,D%+I';'!RR                A      F     A    AW;."#;AJ   AW;."#;AJ                                                                                                 8!G;JFPF          AW;."#;AJ
          8D5"/-#-'3I+V6
              8!G;F<=F+     !G';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';'!RR'!2B!3                               AF      F    AF    AK;*D%;AJ   GT;*D%;AJ                                                                                                        8!G;F<=F+               GT;*D%;AJ
              8!G;F<=FV     !G';'OI+"-',1E',+#'c'3-#'L/-"+6#'3>3#I'#/-5"7';'!RR'!2B!3                  AF      F    AF    AJ;*D%;AJ   FK;)-";AJ                                                                                                           8!G;F<=FV              FK;)-";AJ
              8!G;F<=F"     !G';'B>4>2>O'4*)'MD/'8Qe'Y+II6';'!RR'!2B!3                                  K      F     K    AK;*D%;AJ   AJ;*D%;AJ                                                                                                        8!G;F<=F"            AJ;*D%;AJ
              8!G;F<TF+     !G';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'!RR'!2B!3                             =      F     =    GF;*D%;AJ   GT;*D%;AJ                                                                                                           8!G;F<TF+            GT;*D%;AJ
              8!G;F<TFV     !G';'d>2>4>O'8D5"/-#-'"I+V'[K'LD1/6]                                       AP      F    AP    GG;*D%;AJ   A=;)-";AJ                                                                                                           8!G;F<TFV                  A=;)-";AJ
              8!G;F<JF      !G';'2>4>O'8D5"/-#-'81/V6';'!RR'!2B!3                                      A=      F    A=    AT;)-";AJ   FJ;H+5;GF                                                                                                                   8!G;F<JF                  FJ;H+5;GF
              8!G;GGGF      !G';'e>9'3+5$#+/&'O$L$50                                                    P      F     P    GK;."#;AJ   <F;."#;AJ                                                                                                    8!G;GGGF           <F;."#;AJ
              8!G;GKGF      !G';'e>9'O/D"-66'?+6#-'O$L$50                                              AP      F    AP    GK;."#;AJ   A<;*D%;AJ                                                                                                    8!G;GKGF              A<;*D%;AJ
          N1$IE$50'B5"ID61/-
              8!G;F<WF      !G';'4>2>B,>O'2DDM'#DLL$50'3I+V';'!RR'!2B!3                                 =      F     =    GP;."#;AJ   FA;*D%;AJ                                                                                                     8!G;F<WF          FA;*D%;AJ
              8!G;FP=F      !G';'(56#+II'2\e'OI+#MD/,6                                                 AP      F    AP    FA;*D%;AJ   GA;*D%;AJ                                                                                                      8!G;FP=F                 GA;*D%;AJ
              8!G;FTAF      !G';'(56#+II'2DDM$50'3&6#-,';'!RR'!2B!3                                    AG      F    AG    FA;*D%;AJ   AW;*D%;AJ                                                                                                      8!G;FTAF               AW;*D%;AJ
              8!G;FTGA      !G';'(56#+II'(QO'3&6#-,';'8DI_'X                                            K      F     K    <A;."#;AJ   FP;*D%;AJ                                                                                                      8!G;FTGA          FP;*D%;AJ
              8!G;FTJF      !G';'(56#+II'O/-"+6#'8+1IS$50';'!RR'!2B!3                                   J      F     J    GK;."#;AJ   FP;*D%;AJ                                                                                                    8!G;FTJF            FP;*D%;AJ
              8!G;FWAF      !G';'(56#+II'.X)>)D"S'BZ1$L,-5#                                             P      F     P    AT;)-";AJ   G<;)-";AJ                                                                                                                   8!G;FWAF             G<;)-";AJ
              8!G;FW=F      !G';'(56#+II'4/+,->)DD/>X+/EY+/-';'BC#-/$D/')DD/6'[!RR]                     P      F     P    AT;)-";AJ   G<;)-";AJ                                                                                                                   8!G;FW=F             G<;)-";AJ
          4$5$67-6
              8!G;FKAT      !G';'(56#+II'8Qe';'3-L+/+#$D5'?+II6                                        AG      F    AG    GF;*D%;AJ   FJ;)-";AJ                                                                                                            8!G;FKAT               FJ;)-";AJ
              8!G;FT<<      !G';'(56#+II'(QO'Y+II6';'!RR'!2B!3                                          W      F     W    AT;)-";AJ   GT;)-";AJ                                                                                                                   8!G;FT<<             GT;)-";AJ
              8!G;FTK<      !G';'(56#+II'8+1IS$50>3-+I$50'^'(QO'D5''8DI'Q                               W      F     W    <F;)-";AJ   FJ;H+5;GF                                                                                                                       8!G;FTK<              FJ;H+5;GF
              8!G;FWGF      !G';'(56#+II'(5#-/$D/'.X')DD/6';'!RR                                       AF      F    AF    <F;)-";AJ   A<;H+5;GF                                                                                                                       8!G;FWGF               A<;H+5;GF
              8!G;FWTF      !G';'(56#+II'4/+,->)DD/>X+/EY+/-';'(5#-/$D/')DD/6'[!RR]                     W      F     W    <F;)-";AJ   FJ;H+5;GF                                                                                                                       8!G;FWTF              FJ;H+5;GF
              8!G;FJAT      !G';'(56#+II'Q#I'3#1E6';'3-L+/+#$D5'?+II6                                   W      F     W    AT;)-";AJ   GT;)-";AJ                                                                                                                   8!G;FJAT             GT;)-";AJ
              8!G;FJGT      !G';'(56#+II'9&L'NE'[X+50>4$5$67]';'3-L+/+#$D5'?+II6'(5'8DI'Q;d>K;AP'[!]   A=      F    A=    <F;)-";AJ   GA;H+5;GF                                                                                                                       8!G;FJGT                  GA;H+5;GF
              8!G;FJ=F      !G';'4$5+I'O+$5#';'[!II'(#-,6]';'!II'!/-+6                                 AG      F    AG    AK;H+5;GF   GJ;H+5;GF                                                                                                                             8!G;FJ=F              GJ;H+5;GF
          BI-"#/$"+I
              8!G;G=TF      !G';'2;(>O1II'?$/->\-/,';'4$/-'!I+/,'?$/$50>)-%$"-6                        AP      F    AP    AT;)-";AJ   FW;H+5;GF                                                                                                                   8!G;G=TF                  FW;H+5;GF
          4$/-'O/D#-"#$D5
              8!G;GA<F      !G';'(56#+II'4O'Q+$56>N/+5"7-6';'!RR'!2B!3                                 AG      F    AG    AT;."#;AJ   FA;*D%;AJ                                                                                                 8!G;GA<F              FA;*D%;AJ
              8!G;GAWF      !G';'3#+"S'4O'Q+$5'2$6-/6                                                   K      F     K    AT;)-";AJ   GF;)-";AJ                                                                                                                   8!G;GAWF           GF;)-";AJ
              8!G;GAJF      !G';'(56#+II'4O'N-IDY'Q-"7>BI-"'.V6#/1"#$D56';'!RR'!/-+6'[O.3\;\&6D5]      AF      F    AF    FA;H15;GF   AG;H15;GF                                                                                                                                                                    8!G;GAJF       AG;H15;GF
          31LLD/#'!/-+6
              8!G;FJJJ      !G';'4$5$67-6'+5E'31LLD/#$50'!/-+6                                         =F      F    =F    A=;3-L;AJ   AA;)-";AJ                                                                                         8!G;FJJJ                                  AA;)-";AJ
          \.'NB'2d?)';;;;2B3\2..Q3
              8!G;WFF=      OR'2>2';'(56#+II'8Qe'!VD%-'3I+V                                             P      F     P    AT;)-";AJ   GA;)-";AJ                                                                                                                   8!G;WFF=            GA;)-";AJ
              8!G;WFFW      OR'2>2';'(56#+II'3#--I'31LLD/#>)-"S                                         G      F     G    GG;)-";AJ   G<;)-";AJ                                                                                                                     8!G;WFFW           G<;)-";AJ
              8!G;WFAF      OR'2>2';'NID"S'4$II-/>O/$,-'O+$5#'8Qe                                       <      F     <    GG;)-";AJ   GK;)-";AJ                                                                                                                     8!G;WFAF           GK;)-";AJ
              8!G;WFAG      OR'2>2';'4>2>O'3I+V'D5')-"S                                                 K      F     K    GK;)-";AJ   GT;)-";AJ                                                                                                                     8!G;WFAG           GT;)-";AJ
              8!G;WFA=      OR'2>2';'X+50-/6>(56#+II'B4')1"#YD/S'[;;'*(8';;]                            <      F     <    GW;)-";AJ   <F;)-";AJ                                                                                                                       8!G;WFA=            <F;)-";AJ
              8!G;WFAW      OR'2>2';')/DL6'c'2>('4O'O$L$50                                              G      F     G    GW;)-";AJ   GJ;)-";AJ                                                                                                                       8!G;WFAW            GJ;)-";AJ
              8!G;WFGF      OR'2>2';'2>('-I-"'"D5E1$#'[!RR]'[;;'*(8';;]                                 P      F     P    GW;)-";AJ   FA;H+5;GF                                                                                                                       8!G;WFGF            FA;H+5;GF
                                                                                                                                                                                                                                                                                                                                                          Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 12 of 17




              8!G;WFGA      OR'2>2';'(56#+II'.X')DD/6                                                   P      F     P    G=;)-";AJ   FG;H+5;GF                                                                                                                       8!G;WFGA            FG;H+5;GF
              8!G;WFGW      OR'2>2';'O1II'?$/->3-#')-%$"-6';'Q-"7f'8D5%f'.X')DD/6'[;;'*(8';;]           <      F     <    <A;)-";AJ   FG;H+5;GF                                                                                                                       8!G;WFGW            FG;H+5;GF
              8!G;WF<F      OR'2>2';'O1II'?$/-';'4$C#1/-6';'R$07#6'[;;'*(8';;]                          <      F     <    GJ;)-";AJ   <A;)-";AJ                                                                                                                       8!G;WF<F            <A;)-";AJ
              8!G;WF<G      OR'2>2';'O1II'?$/->3-#'E-%$"-6';'4$/-'!I+/,                                 G      F     G    GJ;)-";AJ   <F;)-";AJ                                                                                                                       8!G;WF<G            <F;)-";AJ
              8!G;WF<K      OR'2>2';'2>('!>9'OI1,V$50'[;;'*(8';;]                                       <      F     <    <A;)-";AJ   FG;H+5;GF                                                                                                                       8!G;WF<K            FG;H+5;GF
              8!G;WF<=      OR'2>2';'(56#+II'!8\'9/$E                                                   G      F     G    F<;H+5;GF   FK;H+5;GF                                                                                                                        8!G;WF<=            FK;H+5;GF


  !"#$"%&#"'%(%)*+,-.+)/                        !"#1+I                               8/$#$"+I                                                                    *+,-./0!012,3!40                                                                                                                      !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                         2-,+$5$50                            Q$I-6#D5-                                                                                                                                                                                                           )%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                            ,56'&77!2896;<76                                                                                                                     "(?#@?
                                                                                                                                                                                                                                                                                                                                                          PageID 66
!"#$%$#&'()                 !"#$%$#&'*+,-                                                      ./$0   !"#   2-,     3#+/#      4$5$67     GFAW                                                                      GFAJ                                                                                          GFGF
                                                                                               )1/    )1/   )1/
                                                                                                                                             H1I   !10   3-L   ."#   *D%   )-"   H+5   4-V   Q+/   !L/   Q+&     H15       H1I      !10     3-L        ."#     *D%      )-"       H+5     4-V       Q+/     !L/   Q+&     H15        H1I   !10   3-L
              8!G;WF<W      OR'2>2';'(56#+II')$MM16-/6>9/$II6'$5'!8\'[;;'*(8';;]                G      F     G    FP;H+5;GF   F=;H+5;GF                                                                                                                           8!G;WF<W         F=;H+5;GF
              8!G;WFKF      OR'2>2';'(56#+II'R$07#6'$5'!8\'[;;'*(8';;]                          G      F     G    FP;H+5;GF   F=;H+5;GF                                                                                                                           8!G;WFKF         F=;H+5;GF
              8!G;WFKG      OR'2>2';'(56#+II'4O'X-+E6'$5'!8\                                    G      F     G    FP;H+5;GF   F=;H+5;GF                                                                                                                           8!G;WFKG         F=;H+5;GF
              8!G;WFKK      OR'2>2';'(56#+II'!8\'\$I-6                                          <      F     <    FP;H+5;GF   FT;H+5;GF                                                                                                                           8!G;WFKK         FT;H+5;GF
              8!G;WFK=      OR'2>2';'4$5$67'O+$5#                                               G      F     G    FW;H+5;GF   FJ;H+5;GF                                                                                                                            8!G;WFK=        FJ;H+5;GF
              8!G;WFKW      OR'2>2';'(56#+II'BLDC&                                              G      F     G    AF;H+5;GF   AA;H+5;GF                                                                                                                            8!G;WFKW         AA;H+5;GF
              8!G;WFPF      OR'2>2';'(56#+II'4$C#1/-6'c'37DY-/'e5$#6'[;;'*(8';;]                K      F     K    AG;H+5;GF   AP;H+5;GF                                                                                                                            8!G;WFPF             AP;H+5;GF
              8!G;WFPG      OR'2>2';'(56#+II'Q+5EDD/6'c'X+/EY+/-                                G      F     G    AG;H+5;GF   A<;H+5;GF                                                                                                                            8!G;WFPG         A<;H+5;GF
              8!G;WFPK      OR'2>2';'3-#'\D$I-#'O+/#$#$D56'+5E'!""-66D/$-6                      <      F     <    A<;H+5;GF   AP;H+5;GF                                                                                                                              8!G;WFPK           AP;H+5;GF
              8!G;WFPW      OR'2>2';'8-/+,$"'\$I-                                               K      F     K    FW;H+5;GF   AA;H+5;GF                                                                                                                            8!G;WFPW         AA;H+5;GF
              8!G;WFJJ      OR'2>2';'!2B!'8.QORB\B                                              F      F     F                AP;H+5;GF                                                                                                                               8!G;WFJJ          AP;H+5;GF
         \&6D5U6'3"DL-
          Q-"7+5$"+I>O$L$50
              8!G;DGGAF     !G';'.>X'O/D"-66'O$L$50                                            AFF     F    AFF   AF;H+5;GF   GJ;Q+&;GF                                                                                                                           8!G;DGGAF                                                GJ;Q+&;GF
              8!G;DGGPF     !G';'2-M/$0>Xd!8')1"#YD/S                                          JF      F    JF    FT;4-V;GF   AG;H15;GF                                                                                                                                  8!G;DGGPF                                            AG;H15;GF
          BI-"#/$"+I
              8!G;DG=AF     !G';'31V6#+#$D5                                                    WF      F    WF    AF;H+5;GF   <F;!L/;GF                                                                                                                           8!G;DG=AF                                       <F;!L/;GF
              8!G;DG=GF     !G';'8+VI-'\/+&                                                    TF      F    TF    A<;4-V;GF   GF;Q+&;GF                                                                                                                                    8!G;DG=GF                                     GF;Q+&;GF
              8!G;DG=<F     !G';'.%-/7-+E'2D107;(5                                             AFF     F    AFF   AF;H+5;GF   GJ;Q+&;GF                                                                                                                           8!G;DG=<F                                                GJ;Q+&;GF
              8!G;DG=PF     !G';')$6#/$V1#$D5'O+5-I6                                           TF      F    TF    AK;4-V;GF   GA;Q+&;GF                                                                                                                                    8!G;DG=PF                                     GA;Q+&;GF
              8!G;DG=WF     !G';'R$07#$50                                                      PF      F    PF    FG;Q+/;GF   FW;Q+&;GF                                                                                                                                          8!G;DG=WF                          FW;Q+&;GF
       GIP(I(0%$$Q$%(#-%L(6-&@@&.R
         9/+&U6'3"DL-
          Q$I-6#D5-6
              8!<;FP        !<';'N1$IE$50'O+E'2-+E&                                             F      F     F    AA;H1I;AJ                                                                                     8!<;FP       AA;H1I;AJf'
              8!<;AF        !<';'4D15E+#$D56'2-+E&                                              F      F     F    G=;H1I;AJ                                                                                        8!<;AF         G=;H1I;AJf'
              8!<;GF        !<';'3I+V'8D,LI-#-                                                  F      F     F                F=;)-";AJ                                                                                                                      8!<;GF       F=;)-";AJ
              8!<;GP        !<';'3#/1"#1/-'8D,LI-#-                                             F      F     F                FJ;."#;AJ                                                                                                    8!<;GP         FJ;."#;AJ
              8!<;KW        !<';'!/-+6'?-+#7-/'O/D#-"#-E                                        F      F     F                GK;H+5;GF                                                                                                                                  8!<;KW           GK;H+5;GF
              8!<;T=        !<';'.>X'4O'O$L$50'8D,LI-#-                                         F      F     F                FP;*D%;AJ                                                                                                            8!<;T=         FP;*D%;AJ
              8!<;WF        !<';'2-+E&'MD/'.Y5-/'BZ1$L,-5#')-I$%-/&                             F      F     F                GK;4-V;GF                                                                                                                                            8!<;WF           GK;4-V;GF
              8!<;WG        !<';'2-+E&'MD/'O/D"-66>.Y5-/'(56#+II                                F      F     F                GK;4-V;GF                                                                                                                                            8!<;WG           GK;4-V;GF
              8!<;J=        !<';'31LLD/#'!/-+6'8D,LI-#-                                         F      F     F                AK;4-V;GF                                                                                                                                          8!<;J=        AK;4-V;GF
              8!<;JW        !<';'2-+E&'MD/'.Y5-/'2-%$-Y                                         F      F     F    GP;4-V;GF                                                                                                                                                        8!<;JW           GP;4-V;GFf'
          4D15E+#$D56
              8!<;F<FA      !<';'(56#+II'9-DL$-/6                                              AW      F    AW    AA;H1I;AJ   FP;!10;AJ                                                                    8!<;F<FA                  FP;!10;AJ
              8!<;F<AA      !<';'B>4>2>B,>O'4*)'8+L6>9/+E-'N-+,6';'!RR'!2B!3                    W      F     W    A=;H1I;AJ   GP;H1I;AJ                                                                        8!<;F<AA           GP;H1I;AJ
              8!<;JFAA      !<';'B.2'R-##-/';'4*)'2-+E&'MD/'O/-"+6#'(56#+II';'!RR'!2B!3         F      F     F                FA;!10;AJ                                                                           8!<;JFAA          FA;!10;AJ
              8!<;JFAG      !<';'B.2'R-##-/';'4*)'2-+E&'MD/'3#--I'(56#+II';'!RR'!2B!3           F      F     F                FA;!10;AJ                                                                           8!<;JFAG          FA;!10;AJ
          3#/1"#1/-
              8!<;F<GK      !<';'B/-"#'O/-"+6#'[?+II6]';'8DI'<G                                 K      F     K    AK;!10;AJ   AJ;!10;AJ                                                                                8!<;F<GK            AJ;!10;AJ
              8!<;F<GKC     !<';'2-,D%-'O/-"+6#'N/+"$50';'8DI'<G                                G      F     G    GK;3-L;AJ   GP;3-L;AJ                                                                                          8!<;F<GKC            GP;3-L;AJ
              8!<;F<GP      !<';'B/-"#'O/-"+6#'[?+II6>N-+,>\--U6]';'.MM$"-                      K      F     K    GF;!10;AJ   G<;!10;AJ                                                                                  8!<;F<GP          G<;!10;AJ
              8!<;F<GPC     !<';'2-,D%-'O/-"+6#'N/+"$50';'.MM$"-                                G      F     G    GP;3-L;AJ   G=;3-L;AJ                                                                                           8!<;F<GPC           G=;3-L;AJ
              8!<;F<G=      !<';'B/-"#'O/-"+6#'[8DI>?+II6>N-+,>\--U6]';'e#$I$#&                 W      F     W    FG;!10;AJ   A<;!10;AJ                                                                           8!<;F<G=             A<;!10;AJ
              8!<;F<G=C     !<';'2-,D%-'O/-"+6#'N/+"$50';'e#$I$#&                               <      F     <    GJ;!10;AJ   F<;3-L;AJ                                                                                   8!<;F<G=C             F<;3-L;AJ
              8!<;F<PK      !<';'9/D1#'O/-"+6#';'8DI'<G                                         =      F     =    AP;!10;AJ   GG;!10;AJ                                                                                8!<;F<PK            GG;!10;AJ
              8!<;F<PP      !<';'9/D1#'O/-"+6#';'.MM$"-                                         =      F     =    GA;!10;AJ   GW;!10;AJ                                                                                  8!<;F<PP            GW;!10;AJ
              8!<;F<P=      !<';'9/D1#'O/-"+6#';'e#$I$#&                                       AF      F    AF    FP;!10;AJ   A=;!10;AJ                                                                            8!<;F<P=               A=;!10;AJ
              8!<;FPAF      !<';'B/-"#'3#--I';'Q+$5'3#/1"#1/-                                  GF      F    GF    G<;!10;AJ   GF;3-L;AJ                                                                                   8!<;FPAF                  GF;3-L;AJ
              8!<;FPA<      !<';'B/-"#>)-#+$I$50>)-"S'3#--I';'NDC'3#D/+0-                      AG      F    AG    FJ;3-L;AJ   GK;3-L;AJ                                                                                      8!<;FPA<                GK;3-L;AJ
              8!<;FPAP      !<';'B/-"#'3#--I';'.MM$"-                                           W      F     W    GJ;!10;AJ   AF;3-L;AJ                                                                                    8!<;FPAP              AF;3-L;AJ
              8!<;FPAT      !<';'B/-"#'3#--I';'e#$I$#&                                          W      F     W    AJ;!10;AJ   GW;!10;AJ                                                                                  8!<;FPAT            GW;!10;AJ
              8!<;FPGF      !<';'3#--I')-#+$I$50';'Q+$5'3#/1"#1/-                              <F      F    <F    GT;!10;AJ   FJ;."#;AJ                                                                                   8!<;FPGF                        FJ;."#;AJ
              8!<;FPGP      !<';'3#--I')-#+$I$50';'.MM$"-                                      AG      F    AG    FK;3-L;AJ   AJ;3-L;AJ                                                                                     8!<;FPGP                AJ;3-L;AJ
              8!<;FPGT      !<';'3#--I')-#+$I$50';'e#$I$#&                                     AG      F    AG    GA;!10;AJ   F=;3-L;AJ                                                                                  8!<;FPGT               F=;3-L;AJ
                                                                                                                                                                                                                                                                                                                                                       Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 13 of 17




              8!<;FPKF      !<';'?+II'8DI1,56>9$/#6';'Q+$5'3#/1"#1/-                           AG      F    AG    G<;3-L;AJ   FJ;."#;AJ                                                                                           8!<;FPKF                FJ;."#;AJ
              8!<;FPKP      !<';'?+II'9$/#6>.L-5$50'4/+,$50';'.MM$"-                           AG      F    AG    GJ;."#;AJ   A<;*D%;AJ                                                                                                       8!<;FPKP             A<;*D%;AJ
              8!<;FPT<      !<';'(56#+II'3#+$/6';'^'8DI'O>GP                                    K      F     K    AW;*D%;AJ   GA;*D%;AJ                                                                                                             8!<;FPT<          GA;*D%;AJ
              8!<;FPTP      !<';'(56#+II'3#+$/6';'^'8DI_'`>GT                                   K      F     K    G=;!10;AJ   GJ;!10;AJ                                                                                   8!<;FPTP            GJ;!10;AJ
              8!<;FPT=      !<';'(56#+II'BC#-/$D/'3#+$/'\DY-/                                   =      F     =    FK;3-L;AJ   AA;3-L;AJ                                                                                     8!<;FPT=             AA;3-L;AJ
              8!<;FPJF      !<';'(56#+II'2DDM')-"S';'Q+$5'3#/1"#1/-                            AK      F    AK    AW;3-L;AJ   FW;."#;AJ                                                                                          8!<;FPJF                FW;."#;AJ


  !"#$"%&#"'%(%)*+,-.+)/                       !"#1+I                              8/$#$"+I                                                              *+,-./0!012,3!40                                                                                                                     !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                        2-,+$5$50                           Q$I-6#D5-                                                                                                                                                                                                  (#%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                    ,56'&77!2896;<76                                                                                                                    "(?#@?
                                                                                                                                                                                                                                                                                                                                                       PageID 67
!"#$%$#&'()                !"#$%$#&'*+,-                                                        ./$0   !"#   2-,     3#+/#      4$5$67     GFAW                                                                   GFAJ                                                                                         GFGF
                                                                                                )1/    )1/   )1/
                                                                                                                                              H1I   !10   3-L   ."#   *D%   )-"   H+5   4-V   Q+/   !L/   Q+&   H15    H1I       !10     3-L       ."#      *D%       )-"        H+5   4-V     Q+/       !L/   Q+&    H15   H1I   !10   3-L
              8!<;FPJP     !<';'(56#+II'2DDM>Q-bb')-"S';'.MM$"-                                  G      F     G    GF;3-L;AJ   G<;3-L;AJ                                                                                     8!<;FPJP           G<;3-L;AJ
              8!<;FPJ=     !<';'(56#+II'2DDM')-"S';'e#$I$#&                                     AK      F    AK    FJ;3-L;AJ   G=;3-L;AJ                                                                                  8!<;FPJ=               G=;3-L;AJ
              8!<;JFPK     !<';'\-6#$50'(56L-"#';'O/-"+6#'2-+E&'MD/'N/+"-'2-,D%+I';'8DI'<G       A      F     A    G<;3-L;AJ   G<;3-L;AJ                                                                                     8!<;JFPK           G<;3-L;AJ
              8!<;JFPP     !<';'\-6#$50'(56L-"#';'O/-"+6#'2-+E&'MD/'N/+"-'2-,D%+I';'.MM$"-       A      F     A    GK;3-L;AJ   GK;3-L;AJ                                                                                     8!<;JFPP           GK;3-L;AJ
              8!<;JFP=     !<';'\-6#$50'(56L-"#';'O/-"+6#'2-+E&'MD/'N/+"-'2-,D%+I';'e#$I$#&      A      F     A    AJ;!10;AJ   AJ;!10;AJ                                                                              8!<;JFP=         AJ;!10;AJ
          8D5"/-#-'3I+V6
              8!<;F<=A+    !<';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';')/+0'NI+6#>31LLD/#                AG      F    AG    <A;."#;AJ   AP;*D%;AJ                                                                                                 8!<;F<=A+                AP;*D%;AJ
              8!<;F<=AV    !<';'OI+"-',1E',+#'O/-"+6#'\/-5"7-6'c'8Qe'4*)';')/+0'NI+6#>31LLD/#    =      F     =    FP;*D%;AJ   AG;*D%;AJ                                                                                                  8!<;F<=AV             AG;*D%;AJ
              8!<;F<=A"    !<';'3-#'L/-"+6#'\/-5"7';')/+0'NI+6#>31LLD/#                          P      F     P    FT;*D%;AJ   A<;*D%;AJ                                                                                                  8!<;F<=A"             A<;*D%;AJ
              8!<;F<=A$    !<';'R+&'$561I+#$D5'MD/'3.9';')/+0'NI+6#>31LLD/#                      W      F     W    FJ;."#;AJ   AW;."#;AJ                                                                                           8!<;F<=A$             AW;."#;AJ
              8!<;F<=G+    !<';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';'8DDI-/                            AG      F    AG    <A;."#;AJ   AP;*D%;AJ                                                                                                 8!<;F<=G+                AP;*D%;AJ
              8!<;F<=GV    !<';'OI+"-',1E',+#'MD/'O/-"+6#'\/-5"7'4*)';'8DDI-/                    =      F     =    FP;*D%;AJ   AG;*D%;AJ                                                                                                  8!<;F<=GV             AG;*D%;AJ
              8!<;F<=G"    !<';'3-#'L/-"+6#'\/-5"7';'8DDI-/                                      P      F     P    FT;*D%;AJ   A<;*D%;AJ                                                                                                  8!<;F<=G"             A<;*D%;AJ
              8!<;F<=G$    !<';'R+&'$561I+#$D5'MD/'3.9';'8DDI-/                                  W      F     W    FJ;."#;AJ   AW;."#;AJ                                                                                           8!<;F<=G$             AW;."#;AJ
              8!<;F<=<+    !<';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';'?O8                               AG      F    AG    FJ;."#;AJ   GK;."#;AJ                                                                                          8!<;F<=<+                GK;."#;AJ
              8!<;F<=<V    !<';'OI+"-',1E',+#'MD/'O/-"+6#'\/-5"7-6'c'(QO'4*)';'?O8               =      F     =    AK;."#;AJ   GA;."#;AJ                                                                                           8!<;F<=<V              GA;."#;AJ
              8!<;F<=<"    !<';'3-#'L/-"+6#'\/-5"7';'?O8                                         P      F     P    A=;."#;AJ   GG;."#;AJ                                                                                            8!<;F<=<"             GG;."#;AJ
              8!<;F<=K+    !<';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';'XDIE$50')D"S                      AG      F    AG    AT;."#;AJ   FA;*D%;AJ                                                                                            8!<;F<=K+                FA;*D%;AJ
              8!<;F<=KV    !<';'OI+"-',1E',+#'MD/'O/-"+6#'\/-5"7-6'c'(QO'4*)';'XDIE$50')D"S      =      F     =    GG;."#;AJ   GJ;."#;AJ                                                                                               8!<;F<=KV            GJ;."#;AJ
              8!<;F<=K"    !<';'3-#'L/-"+6#'\/-5"7';'XDIE$50')D"S                                P      F     P    GK;."#;AJ   <F;."#;AJ                                                                                               8!<;F<=K"            <F;."#;AJ
              8!<;F<=K$    !<';'R+&'$561I+#$D5'MD/'3.9';'XDIE$50')D"S                           AF      F    AF    FJ;."#;AJ   GG;."#;AJ                                                                                           8!<;F<=K$              GG;."#;AJ
              8!<;F<=KL    !<';'O>2>O'\/1"S')D"S'O$#'N+6->3I+V';'XDIE$50')D"S                   AG      F    AG    GT;3-L;AJ   AP;."#;AJ                                                                                     8!<;F<=KL                   AP;."#;AJ
              8!<;F<==+    !<';'BC"+%+#-'c'3-#'\/-5"7'2-V+/';'e#$I$#&                           AG      F    AG    <A;."#;AJ   AP;*D%;AJ                                                                                                 8!<;F<==+                AP;*D%;AJ
              8!<;F<==V    !<';'OI+"-',1E',+#'MD/'O/-"+6#'\/-5"7-6'c'8Qe'4*)6';'e#$I$#&          =      F     =    FP;*D%;AJ   AG;*D%;AJ                                                                                                  8!<;F<==V             AG;*D%;AJ
              8!<;F<=="    !<';'3-#'L/-"+6#'\/-5"7';'e#$I$#&                                     P      F     P    FT;*D%;AJ   A<;*D%;AJ                                                                                                  8!<;F<=="             A<;*D%;AJ
              8!<;F<TA+    !<';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';')/+0'NI+6#>31LLD/#              <      F     <    FT;*D%;AJ   AA;*D%;AJ                                                                                                  8!<;F<TA+            AA;*D%;AJ
              8!<;F<TAV    !<';'d>2>4>O'8D5"/-#-'3I+V'[G'LD1/6]';')/+0f'31LLD/#'!/-+6            J      F     J    AA;*D%;AJ   GA;*D%;AJ                                                                                                    8!<;F<TAV                GA;*D%;AJ
              8!<;F<TA#    !<';'d>2>4>O'\1M"D'8D5"'3I+V'[G'LD1/6]';')/+0'NI+6#'.5I&             AW      F    AW    AA;*D%;AJ   F=;)-";AJ                                                                                                    8!<;F<TA#                   F=;)-";AJ
              8!<;F<TG+    !<';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'8DDI-/                          <      F     <    FT;*D%;AJ   AA;*D%;AJ                                                                                                  8!<;F<TG+            AA;*D%;AJ
              8!<;F<TGV    !<';'d>2>4>O'8D5"/-#-'3I+V'[G'LD1/6]';'8DDI-/                         W      F     W    AA;*D%;AJ   GF;*D%;AJ                                                                                                    8!<;F<TGV                GF;*D%;AJ
              8!<;F<T<+    !<';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'?O8                             <      F     <    A=;."#;AJ   AW;."#;AJ                                                                                            8!<;F<T<+            AW;."#;AJ
              8!<;F<T<V    !<';'d>2>4>O'8D5"/-#-'3I+V'[G'LD1/6]';'?O8                            W      F     W    F=;*D%;AJ   AP;*D%;AJ                                                                                                  8!<;F<T<V               AP;*D%;AJ
              8!<;F<TK+    !<';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'XDIE$50')D"S                    K      F     K    GK;."#;AJ   GJ;."#;AJ                                                                                               8!<;F<TK+            GJ;."#;AJ
              8!<;F<TKV    !<';'d>2>4>O'8D5"/-#-'3I+V'[<'LD1/6]';'XDIE$50')D"S                   J      F     J    F=;*D%;AJ   AW;*D%;AJ                                                                                                  8!<;F<TKV               AW;*D%;AJ
              8!<;F<TP+    !<';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'.MM$"-                          G      F     G    GA;."#;AJ   GG;."#;AJ                                                                                               8!<;F<TP+          GG;."#;AJ
              8!<;F<TPV    !<';'d>2>4>O'8D5"/-#-'3I+V'[G'LD1/6]';'.MM$"-                         K      F     K    G<;."#;AJ   GW;."#;AJ                                                                                               8!<;F<TPV            GW;."#;AJ
              8!<;F<T=+    !<';'OI+"-'M$5+I'61V0/+E-',+#-/$+I6';'e#$I$#&                         K      F     K    FT;*D%;AJ   AG;*D%;AJ                                                                                                  8!<;F<T=+             AG;*D%;AJ
              8!<;F<T=V    !<';'d>2>4>O'8D5"/-#-'3I+V'[<'LD1/6]';'e#$I$#&                        J      F     J    AA;*D%;AJ   GA;*D%;AJ                                                                                                    8!<;F<T=V                GA;*D%;AJ
              8!<;F<WP     !<';'d>2>4>O'8D5"'Q-bb'3I+V'[A'LD1/]';'.MM$"-                         K      F     K    G<;."#;AJ   GW;."#;AJ                                                                                                8!<;F<WP            GW;."#;AJ
              8!<;F<JA     !<';'2>4>O'8D5"/-#-'81/V6';')/+0'NI+6#>31LLD/#                       GK      F    GK    F=;H+5;GF   F=;4-V;GF                                                                                                                       8!<;F<JA                   F=;4-V;GF
              8!<;F<JG     !<';'2>4>O'8D5"/-#-'81/V6';'8DDI-/                                   AK      F    AK    GA;*D%;AJ   AG;)-";AJ                                                                                                        8!<;F<JG                  AG;)-";AJ
              8!<;F<J<     !<';'2>4>O'8D5"/-#-'81/V6';'?O8                                      AF      F    AF    GG;*D%;AJ   FJ;)-";AJ                                                                                                        8!<;F<J<                 FJ;)-";AJ
              8!<;F<JK     !<';'2>4>O'8D5"/-#-'81/V6';'XDIE$50')D"S                             AF      F    AF    GG;*D%;AJ   FJ;)-";AJ                                                                                                        8!<;F<JK                 FJ;)-";AJ
              8!<;F<J=     !<';'2>4>O'8D5"/-#-'81/V6';'e#$I$#&                                  A=      F    A=    <F;H+5;GF   GF;4-V;GF                                                                                                                               8!<;F<J=              GF;4-V;GF
              8!<;GGGK     !<';'e>9'3+5$#+/&'O$L$50';'XDIE$50')D"S                               =      F     =    FJ;."#;AJ   A=;."#;AJ                                                                                           8!<;GGGK              A=;."#;AJ
              8!<;GGGP     !<';'e>9'3+5$#+/&'O$L$50';'.MM$"-                                     W      F     W    FJ;."#;AJ   AW;."#;AJ                                                                                           8!<;GGGP              AW;."#;AJ
              8!<;GGG=     !<';'e>9'3+5$#+/&'O$L$50';'e#$I$#&                                    K      F     K    FJ;."#;AJ   AK;."#;AJ                                                                                           8!<;GGG=              AK;."#;AJ
              8!<;GKGA     !<';'e>9'O/D"-66'?+6#-'O$L$50';')/+0'NI+6#>31LLD/#                   A=      F    A=    FJ;."#;AJ   <F;."#;AJ                                                                                           8!<;GKGA                 <F;."#;AJ
              8!<;GKGG     !<';'e>9'O/D"-66'?+6#-'O$L$50';'8DDI-/                               A=      F    A=    FJ;."#;AJ   <F;."#;AJ                                                                                           8!<;GKGG                 <F;."#;AJ
              8!<;GKG=     !<';'e>9'O/D"-66'?+6#-'O$L$50';'e#$I$#&                              A=      F    A=    FJ;."#;AJ   <F;."#;AJ                                                                                           8!<;GKG=                 <F;."#;AJ
              8!<;GKKA     !<';'e>9'9I&"DI'O$L$50';')/+0'NI+6#>31LLD/#                          AG      F    AG    FJ;."#;AJ   GK;."#;AJ                                                                                           8!<;GKKA                GK;."#;AJ
              8!<;GKK=     !<';'e>9'9I&"DI'O$L$50'Q!(*';'e#$I$#&                                 W      F     W    GT;3-L;AJ   FJ;."#;AJ                                                                                         8!<;GKK=            FJ;."#;AJ
          N1$IE$50'B5"ID61/-
              8!<;FP=F     !<';'(56#+II'2\e'OI+#MD/,6                                           AP      F    AP    AF;."#;AJ   <F;."#;AJ                                                                                           8!<;FP=F                 <F;."#;AJ
              8!<;FPTJ     !<';'(56#+II'8/D66'D%-/'6#+$/6'[G]';'NDC'3#D/+0-                     AW      F    AW    GT;H+5;GF   AJ;4-V;GF                                                                                                                              8!<;FPTJ               AJ;4-V;GF
              8!<;FTAF     !<';'(56#+II'2DDM$50'3&6#-,';'Q+$5'3#/1"#1/-                         <F      F    <F    AG;)-";AJ   GK;H+5;GF                                                                                                              8!<;FTAF                         GK;H+5;GF
              8!<;FTAG     !<';'(56#+II'2DDM$50';'NDC'3#D/+0-                                    P      F     P    FP;)-";AJ   AA;)-";AJ                                                                                                            8!<;FTAG             AA;)-";AJ
                                                                                                                                                                                                                                                                                                                                              Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 14 of 17




              8!<;FTGF     !<';'(56#+II'BC#-/$D/'(QO'3&6#-,';'Q+$5'3#/1"#1/-'[B'c'?]            GF      F    GF    AF;."#;AJ   F=;*D%;AJ                                                                                           8!<;FTGF                   F=;*D%;AJ
              8!<;FTGG     !<';'(56#+II'BC#-/$D/'(QO'3&6#-,';'NDC'3#D/+0-'[*'c'3]               AG      F    AG    GG;*D%;AJ   AA;)-";AJ                                                                                                        8!<;FTGG                 AA;)-";AJ
              8!<;FTGP     !<';'(56#+II'BC#-/$D/'(QO'3&6#-,';'.MM$"-'!/-+                        W      F     W    AK;*D%;AJ   GP;*D%;AJ                                                                                                       8!<;FTGP               GP;*D%;AJ
              8!<;FTWP     !<';'(56#+II'3#D/-M/D5#>9I+66';'.MM$"-                                P      F     P    GP;3-L;AJ   FG;."#;AJ                                                                                     8!<;FTWP              FG;."#;AJ
              8!<;FTJA     !<';'(56#+II'O/-"+6#'8+1IS$50';'8DI'<G                                W      F     W    G=;3-L;AJ   FW;."#;AJ                                                                                         8!<;FTJA           FW;."#;AJ
              8!<;FTJP     !<';'(56#+II'O/-"+6#'8+1IS$50';'.MM$"-                                W      F     W    GT;3-L;AJ   FJ;."#;AJ                                                                                         8!<;FTJP            FJ;."#;AJ

  !"#$"%&#"'%(%)*+,-.+)/                      !"#1+I                          8/$#$"+I                                                                    *+,-./0!012,3!40                                                                                                                 !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                       2-,+$5$50                       Q$I-6#D5-                                                                                                                                                                                                    ((%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                     ,56'&77!2896;<76                                                                                                                "(?#@?
                                                                                                                                                                                                                                                                                                                                              PageID 68
!"#$%$#&'()                 !"#$%$#&'*+,-                                                                  ./$0   !"#   2-,     3#+/#      4$5$67     GFAW                                                                   GFAJ                                                                                  GFGF
                                                                                                           )1/    )1/   )1/
                                                                                                                                                         H1I   !10   3-L   ."#   *D%   )-"   H+5   4-V   Q+/   !L/   Q+&   H15    H1I   !10    3-L      ."#       *D%     )-"       H+5     4-V       Q+/    !L/   Q+&    H15   H1I      !10      3-L
              8!<;FTJ=      !<';'(56#+II'O/-"+6#'8+1IS$50';'e#$I$#&                                         W      F     W    FK;3-L;AJ   A<;3-L;AJ                                                                                 8!<;FTJ=       A<;3-L;AJ
              8!<;FWAF      !<';'(56#+II'(5#-/$D/'.X)';'!RR'!2B!3                                          AW      F    AW    AA;*D%;AJ   F=;)-";AJ                                                                                                8!<;FWAF                  F=;)-";AJ
              8!<;FW=F      !<';'(56#+II'4/+,->)DD/>X+/EY+/-';'BC#-/$D/')DD/6'[!RR]                        AP      F    AP    FJ;)-";AJ   <F;)-";AJ                                                                                                        8!<;FW=F                 <F;)-";AJ
              8!<;AAAF      !<';'(56#+II')D"S'BZ1$L,-5#';'!RR'!2B!3                                        AG      F    AG    AJ;*D%;AJ   F=;)-";AJ                                                                                                    8!<;AAAF              F=;)-";AJ
              8!<;G<TT      !<';'(56#+II'RD1%-/6';'e#$I$#&                                                  P      F     P    GF;!10;AJ   G=;!10;AJ                                                                              8!<;G<TT      G=;!10;AJ
          4$5$67-6
              8!<;FKAA      !<';'(56#+II'8Qe';')/+0f'BI-"#/$"+I'2DD,                                       AW      F    AW    FJ;)-";AJ   F<;H+5;GF                                                                                                        8!<;FKAA                  F<;H+5;GF
              8!<;FKAP      !<';'(56#+II'8Qe';'.MM$"-                                                      AW      F    AW    <F;H+5;GF   GK;4-V;GF                                                                                                                        8!<;FKAP                   GK;4-V;GF
              8!<;FKA=      !<';'(56#+II'8Qe';'e#$I$#&f'Q-"7'2DD,                                          AW      F    AW    F=;H+5;GF   GJ;H+5;GF                                                                                                                 8!<;FKA=                 GJ;H+5;GF
              8!<;FT<A      !<';'(56#+II'(5#-/$D/'(QO'Y+II6';'3-L+/+#$D5'?+II6';')/+0'NI+6#>31LLD/#$50     AF      F    AF    GG;*D%;AJ   FJ;)-";AJ                                                                                                    8!<;FT<A               FJ;)-";AJ
              8!<;FT<<      !<';'(56#+II'(5#-/$D/'(QO'Y+II6'[4*)]';'?O8f'3D1#7'?+II                         W      F     W    GG;."#;AJ   <A;."#;AJ                                                                                            8!<;FT<<           <A;."#;AJ
              8!<;FT<K      !<';'(56#+II'(5#-/$D/'(QO'Y+II6'[4*)]';')D"S                                    K      F     K    <A;."#;AJ   FP;*D%;AJ                                                                                             8!<;FT<K           FP;*D%;AJ
              8!<;FT<T      !<';'(56#+II'(QO'Y+II6';'3-L+/+#$D5'?+II6';'8DI'O>AP;<G                         =      F     =    F=;*D%;AJ   A<;*D%;AJ                                                                                               8!<;FT<T           A<;*D%;AJ
              8!<;FT<W      !<';'(56#+II'(QO'Y+II6';'3-L+/+#$D5'?+II6';'8DI'd>AP;<G                         =      F     =    AK;*D%;AJ   GA;*D%;AJ                                                                                                  8!<;FT<W           GA;*D%;AJ
              8!<;FTKA      !<';'(56#+II'8+1IS$50>3-+I$50'^'(QO';'?+II6>8-$I$506';')/+0'NI+6#>31LLD/#$50   AG      F    AG    AF;)-";AJ   G=;)-";AJ                                                                                                         8!<;FTKA               G=;)-";AJ
              8!<;FTK<      !<';'(56#+II'8+1IS$50>3-+I$50'^'(QO''?O8f'3D1#7'?+II                           AG      F    AG    FA;*D%;AJ   AW;*D%;AJ                                                                                             8!<;FTK<                AW;*D%;AJ
              8!<;FTKK      !<';'(56#+II'8+1IS$50>3-+I$50'^'(QO';')D"S                                      =      F     =    F=;*D%;AJ   A<;*D%;AJ                                                                                               8!<;FTKK           A<;*D%;AJ
              8!<;FTKT      !<';'(56#+II'8+1IS$50>3-+I$50'^'(QO';'3-L+/+#$D5'?+II6';'8DI'O>AP;<G            =      F     =    AK;*D%;AJ   GA;*D%;AJ                                                                                                  8!<;FTKT           GA;*D%;AJ
              8!<;FTKW      !<';'(56#+II'8+1IS$50>3-+I$50'^'(QO';'3-L+/+#$D5'?+II6';'8DI'd>AP;<G            =      F     =    GG;*D%;AJ   F<;)-";AJ                                                                                                    8!<;FTKW            F<;)-";AJ
              8!<;FTPA      !<';'(56#+II'(QO'8-$I$50';')/+0'NI+6#                                          AP      F    AP    AK;*D%;AJ   F=;)-";AJ                                                                                                  8!<;FTPA                F=;)-";AJ
              8!<;FWGF      !<';'(56#+II'(5#-/$D/'.X')DD/6';'!RR'!2B!3                                     GF      F    GF    FW;*D%;AJ   FJ;)-";AJ                                                                                               8!<;FWGF                    FJ;)-";AJ
              8!<;FWTF      !<';'(56#+II'4/+,->)DD/>X+/EY+/-';'(5#-/$D/')DD/6';'!RR'!2B!3                  GF      F    GF    GG;*D%;AJ   G<;)-";AJ                                                                                                    8!<;FWTF                  G<;)-";AJ
              8!<;FJ=F      !<';'4$5+I'O+$5#';'[!II'(#-,6]';'!RR'!2B!3                                     GF      F    GF    <A;)-";AJ   GW;H+5;GF                                                                                                               8!<;FJ=F                   GW;H+5;GF
          BI-"#/$"+I
              8!<;G=TF      !<';'2;(>O1II'?$/->\-/,';'4$/-'!I+/,'?$/$50>)-%$"-6                            PF      F    PF    FP;)-";AJ   AK;4-V;GF                                                                                                        8!<;G=TF                              AK;4-V;GF
          4$/-'O/D#-"#$D5
              8!<;GA<F      !<';'(56#+II'4O'Q+$56>N/+5"7-6';'!RR'!2B!3                                     GF      F    GF    FJ;."#;AJ   FP;*D%;AJ                                                                                         8!<;GA<F               FP;*D%;AJ
              8!<;GAWF      !<';'3#+"S'4O'Q+$5'2$6-/6                                                      AG      F    AG    GG;*D%;AJ   AA;)-";AJ                                                                                                    8!<;GAWF               AA;)-";AJ
              8!<;GAJF      !<';'(56#+II'4O'N-IDY'Q-"7>BI-"'.V6#/1"#$D56';'!RR'!/-+6'[O.3\;\&6D5]          GF      F    GF    GJ;H15;GF   GT;H1I;GF                                                                                                                                                                8!<;GAJF              GT;H1I;GF
          \.'NB'2d?)';;;;2B3\2..Q3
              8!<;WFF=      OR'2>2';'(56#+II'8Qe'!VD%-'3I+V                                                 P      F     P    AT;)-";AJ   GA;)-";AJ                                                                                                           8!<;WFF=          GA;)-";AJ
              8!<;WFFW      OR'2>2';'(56#+II'3#--I'31LLD/#>)-"S                                             G      F     G    GG;)-";AJ   G<;)-";AJ                                                                                                             8!<;WFFW         G<;)-";AJ
              8!<;WFAF      OR'2>2';'NID"S'4$II-/>O/$,-'O+$5#'8Qe                                           <      F     <    GG;)-";AJ   GK;)-";AJ                                                                                                             8!<;WFAF         GK;)-";AJ
              8!<;WFAG      OR'2>2';'4>2>O'3I+V'D5')-"S                                                     K      F     K    GK;)-";AJ   GT;)-";AJ                                                                                                             8!<;WFAG           GT;)-";AJ
              8!<;WFA=      OR'2>2';'X+50-/6>(56#+II'B4')1"#YD/S'[;;'*(8';;]                                <      F     <    GW;)-";AJ   <F;)-";AJ                                                                                                               8!<;WFA=          <F;)-";AJ
              8!<;WFAW      OR'2>2';')/DL6'c'2>('4O'O$L$50                                                  G      F     G    GW;)-";AJ   GJ;)-";AJ                                                                                                               8!<;WFAW          GJ;)-";AJ
              8!<;WFGF      OR'2>2';'2>('-I-"'"D5E1$#'[!RR]'[;;'*(8';;]                                     P      F     P    GW;)-";AJ   FA;H+5;GF                                                                                                               8!<;WFGF          FA;H+5;GF
              8!<;WFGA      OR'2>2';'(56#+II'.X')DD/6                                                       P      F     P    G=;)-";AJ   FG;H+5;GF                                                                                                               8!<;WFGA          FG;H+5;GF
              8!<;WFGW      OR'2>2';'O1II'?$/->3-#')-%$"-6';'Q-"7f'8D5%f'.X')DD/6'[;;'*(8';;]               <      F     <    <A;)-";AJ   FG;H+5;GF                                                                                                               8!<;WFGW          FG;H+5;GF
              8!<;WF<F      OR'2>2';'O1II'?$/-';'4$C#1/-6';'R$07#6'[;;'*(8';;]                              <      F     <    GJ;)-";AJ   <A;)-";AJ                                                                                                               8!<;WF<F          <A;)-";AJ
              8!<;WF<G      OR'2>2';'O1II'?$/->3-#'E-%$"-6';'4$/-'!I+/,                                     G      F     G    GJ;)-";AJ   <F;)-";AJ                                                                                                               8!<;WF<G          <F;)-";AJ
              8!<;WF<K      OR'2>2';'2>('!>9'OI1,V$50'[;;'*(8';;]                                           <      F     <    <A;)-";AJ   FG;H+5;GF                                                                                                               8!<;WF<K          FG;H+5;GF
              8!<;WF<=      OR'2>2';'(56#+II'!8\'9/$E                                                       G      F     G    F<;H+5;GF   FK;H+5;GF                                                                                                                8!<;WF<=          FK;H+5;GF
              8!<;WF<W      OR'2>2';'(56#+II')$MM16-/6>9/$II6'$5'!8\'[;;'*(8';;]                            G      F     G    FP;H+5;GF   F=;H+5;GF                                                                                                                 8!<;WF<W         F=;H+5;GF
              8!<;WFKF      OR'2>2';'(56#+II'R$07#6'$5'!8\'[;;'*(8';;]                                      G      F     G    FP;H+5;GF   F=;H+5;GF                                                                                                                 8!<;WFKF         F=;H+5;GF
              8!<;WFKG      OR'2>2';'(56#+II'4O'X-+E6'$5'!8\                                                G      F     G    FP;H+5;GF   F=;H+5;GF                                                                                                                 8!<;WFKG         F=;H+5;GF
              8!<;WFKK      OR'2>2';'(56#+II'!8\'\$I-6                                                      <      F     <    FP;H+5;GF   FT;H+5;GF                                                                                                                 8!<;WFKK         FT;H+5;GF
              8!<;WFK=      OR'2>2';'4$5$67'O+$5#                                                           G      F     G    FW;H+5;GF   FJ;H+5;GF                                                                                                                 8!<;WFK=          FJ;H+5;GF
              8!<;WFKW      OR'2>2';'(56#+II'BLDC&                                                          G      F     G    AF;H+5;GF   AA;H+5;GF                                                                                                                  8!<;WFKW         AA;H+5;GF
              8!<;WFPF      OR'2>2';'(56#+II'4$C#1/-6'c'37DY-/'e5$#6'[;;'*(8';;]                            K      F     K    AG;H+5;GF   AP;H+5;GF                                                                                                                  8!<;WFPF             AP;H+5;GF
              8!<;WFPG      OR'2>2';'(56#+II'Q+5EDD/6'c'X+/EY+/-                                            G      F     G    AG;H+5;GF   A<;H+5;GF                                                                                                                  8!<;WFPG          A<;H+5;GF
              8!<;WFPK      OR'2>2';'3-#'\D$I-#'O+/#$#$D56'+5E'!""-66D/$-6                                  <      F     <    A<;H+5;GF   AP;H+5;GF                                                                                                                   8!<;WFPK            AP;H+5;GF
              8!<;WFPW      OR'2>2';'8-/+,$"'\$I-                                                           K      F     K    FW;H+5;GF   AA;H+5;GF                                                                                                                 8!<;WFPW          AA;H+5;GF
              8!<;WFJJ      OR'2>2';'!2B!'8.QORB\B                                                          F      F     F                AP;H+5;GF                                                                                                                     8!<;WFJJ          AP;H+5;GF
         \&6D5U6'3"DL-
          Q-"7+5$"+I>O$L$50
                                                                                                                                                                                                                                                                                                                                                           Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 15 of 17




              8!<;DGGAF     !<';'.>X'O/D"-66'O$L$50                                                        AFF     F    AFF   GA;4-V;GF   A<;H1I;GF                                                                                                                             8!<;DGGAF                                             A<;H1I;GF
              8!<;DGGPF     !<';'2-M/$0>Xd!8')1"#YD/S                                                      JF      F    JF    GF;Q+/;GF   GT;H1I;GF                                                                                                                                       8!<;DGGPF                                      GT;H1I;GF
              8!<;DKPAF     !<';'8D,L/-66-E'!$/'BZ1$L,-5#>O$L$50                                           JG      F    JG    GA;4-V;GF   <F;H15;GF                                                                                                                             8!<;DKPAF                                       <F;H15;GF
              8!<;DK=AF     !<';'87$II-E'?+#-/'BZ1$L,-5#>O$L$50                                            AKF     F    AKF   GA;4-V;GF   FT;3-L;GF                                                                                                                             8!<;DK=AF                                                            FT;3-L;GF
              8!<;DK=GF     !<';'8DDI$50'\DY-/>O$L$50'D5'2DDM                                              AGF     F    AGF   GA;4-V;GF   AF;!10;GF                                                                                                                             8!<;DK=GF                                                    AF;!10;GF
              8!<;DKTAF     !<';'ND$I-/'BZ1$L,-5#>O$L$50>)1"#YD/S                                          AA=     F    AA=   GA;4-V;GF   FK;!10;GF                                                                                                                             8!<;DKTAF                                                  FK;!10;GF


  !"#$"%&#"'%(%)*+,-.+)/                       !"#1+I                              8/$#$"+I                                                                          *+,-./0!012,3!40                                                                                                            !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                        2-,+$5$50                           Q$I-6#D5-                                                                                                                                                                                                     ("%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                                                ,56'&77!2896;<76                                                                                                           "(?#@?
                                                                                                                                                                                                                                                                                                                                                           PageID 69
!"#$%$#&'()                 !"#$%$#&'*+,-                                           ./$0   !"#   2-,     3#+/#      4$5$67     E@?I                                                                      E@?>                                                                                     E@E@
                                                                                    )1/    )1/   )1/
                                                                                                                                  M1G   !10   3-D   ."#   *<%   )-"   M+5   4-F   J+/   !D/   J+&     M15      M1G     !10     3-D     ."#       *<%      )-"      M+5    4-F     J+/      !D/     J+&    M15   M1G   !10       3-D
              8!9;<=>?@     !9';'2-A/$0-/+#$<5'BC1$D,-5#                            ?E@     @    ?E@   E?;4-F;E@   ?@;!10;E@                                                                                                                                    8!9;<=>?@                                                   ?@;!10;E@
          BG-"#/$"+G
              8!9;<EH?@     !9';'31F6#+#$<5                                         I@      @    I@    @>;)-";?>   9?;J+/;E@                                                                                                              8!9;<EH?@                                          9?;J+/;E@
              8!9;<EHE@     !9';'8+FG-'K/+&                                         L@      @    L@    EH;J+/;E@   @E;M1G;E@                                                                                                                                             8!9;<EHE@                              @E;M1G;E@
              8!9;<EH9@     !9';'.%-/7-+N'2<107;(5                                  ?@@     @    ?@@   ?@;."#;?>   @9;J+/;E@                                                                                              8!9;<EH9@                                                @9;J+/;E@
              8!9;<EHO@     !9';')$6#/$F1#$<5'P+5-G6                                L@      @    L@    ?L;)-";?>   EO;J+/;E@                                                                                                                8!9;<EHO@                                      EO;J+/;E@
              8!9;<EHH@     !9';'BC1$D,-5#'P<Q-/                                    L@      @    L@    @?;M15;E@   @L;3-D;E@                                                                                                                                                               8!9;<EHH@                              @L;3-D;E@
              8!9;<EHI@     !9';'R$07#$50                                           O@      @    O@    ?L;M+5;E@   EH;J+/;E@                                                                                                                          8!9;<EHI@                            EH;J+/;E@
       GIS(I()&J$(;.#"C$(T(322'&.R(6-$=
         S/+&3"<D-
          J$G-6#<5-6
              8!=T;@O       !=';'U1$GN$50'P+N'2-+N&                                  @      @     @    ??;M1G;?>                                                                                    8!=T;@O      ??;M1G;?>`'
              8!=T;?@       !=';'4<15N+#$<56'2-+N&                                   @      @     @    @H;3-D;?>                                                                                                     8!=T;?@     @H;3-D;?>`'
              8!=T;E@       !=';'3G+F'8<,DG-#-                                       @      @     @                @?;*<%;?>                                                                                                      8!=T;E@         @?;*<%;?>
              8!=T;EO       !=';'3#/1"#1/-'8<,DG-#-                                  @      @     @                @=;."#;?>                                                                                               8!=T;EO        @=;."#;?>
              8!=T;=I       !=';'!/-+6'V-+#7-/'P/<#-"#-N                             @      @     @                EO;."#;?>                                                                                                    8!=T;=I        EO;."#;?>
              8!=T;LH       !=';'.WX'4P'P$D$50'8<,DG-#-                              @      @     @                @=;."#;?>                                                                                               8!=T;LH        @=;."#;?>
              8!=T;I@       !=';'2-+N&'A</'.Q5-/'BC1$D,-5#')-G$%-/&                  @      @     @                @9;)-";?>                                                                                                                8!=T;I@         @9;)-";?>
              8!=T;IE       !=';'2-+N&'A</'P/<"-66W.Q5-/'(56#+GG                     @      @     @                @9;)-";?>                                                                                                                8!=T;IE         @9;)-";?>
              8!=T;>H       !=';'31DD</#'!/-+6'8<,DG-#-                              @      @     @                @E;M+5;E@                                                                                                                          8!=T;>H      @E;M+5;E@
              8!=T;>I       !=';'2-+N&'A</'.Q5-/'2-%$-Q                              @      @     @    @9;M+5;E@                                                                                                                                      8!=T;>I      @9;M+5;E@`'
          3#/1"#1/-
              8!=T;=IE      !=';'PBUW2<<A'B/-"#$<5                                  O@      @    O@    EO;M1G;?>   @=;."#;?>                                                                          8!=T;=IE                            @=;."#;?>
          4<15N+#$<56
              8!=T;=I@      !=';'!10-/'8+6#'W'P$#6'W''4<15N+#$<5                    =@      @    =@    ??;M1G;?>   @O;3-D;?>                                                                    8!=T;=I@                         @O;3-D;?>
          8<5"/-#-'3G+F6
              8!=T;=I=      !=';'YWS'P$D$50'Z3+5[                                   ?O      @    ?O    @H;3-D;?>   EH;3-D;?>                                                                                     8!=T;=I=             EH;3-D;?>
              8!=T;=IO      !=';'K/-5"7-6W3G+F'.5'S/+N-                             =@      @    =@    @H;3-D;?>   @?;*<%;?>                                                                                     8!=T;=IO                         @?;*<%;?>
          U1$GN$50'B5"G<61/-
              8!=T;=IL      !=';'2<<A$50                                            =@      @    =@    E>;!10;?>   EO;."#;?>                                                                                   8!=T;=IL                        EO;."#;?>
          4$5$67-6
              8!=T;=I>      !=';'8JY                                                E=      @    E=    @L;."#;?>   @L;*<%;?>                                                                                              8!=T;=I>                 @L;*<%;?>
              8!=T;=>@      !=';'(561G+#-N'J-#+G'P+5-G6';'(5#-/$</                  E@      @    E@    E?;."#;?>   ?O;*<%;?>                                                                                                   8!=T;=>@                ?O;*<%;?>
          BG-"#/$"+G
              8!=T;=>E      !=';'4$/-'!G+/,'V$/$50W)-%$"-6                          O@      @    O@    E?;."#;?>   @E;M+5;E@                                                                                                   8!=T;=>E                            @E;M+5;E@
          4$/-'P/<#-"#$<5
              8!=T;=>=      !=';'.%-/7-+N'4P'P$D$50                                 9@      @    9@    EE;!10;?>   @=;."#;?>                                                                                  8!=T;=>=                    @=;."#;?>
          31DD</#'!/-+6
              8!=T;=>H      !=';'4$5$67-6'+5N'31DD</#$50'!/-+6                      H@      @    H@    @L;."#;?>   @E;M+5;E@                                                                                              8!=T;=>H                                 @E;M+5;E@
         K&6<5\6'3"<D-
          J-"7+5$"+GWP$D$50
              8!=T;=>>      !=';'.WX'P/<"-66'P$D$50                                 ?@@     @    ?@@   ?I;*<%;?>   @>;!D/;E@                                                                                                          8!=T;=>>                                                @>;!D/;E@
              8!=T;O@@      !=';'2-A/$0WX]!8')1"#Q</^                               >@      @    >@    ?I;)-";?>   E9;!D/;E@                                                                                                                   8!=T;O@@                                           E9;!D/;E@
              8!=T;O@?      !=';'31DD</#'!/-+6';'4$5+G')-%$"-6W4$#'YD               H@      @    H@    ?I;*<%;?>   ?9;4-F;E@                                                                                                          8!=T;O@?                                 ?9;4-F;E@
          BG-"#/$"+G
              8!=T;O@9      !=';'31F6#+#$<5                                         I@      @    I@    ?I;*<%;?>   ?E;J+/;E@                                                                                                          8!=T;O@9                                        ?E;J+/;E@
              8!=T;O@=      !=';'8+FG-'K/+&                                         L@      @    L@    E=;)-";?>   @?;!D/;E@                                                                                                                     8!=T;O@=                                    @?;!D/;E@
              8!=T;O@O      !=';'.%-/7-+N'2<107;(5                                  ?@@     @    ?@@   ?I;*<%;?>   @>;!D/;E@                                                                                                          8!=T;O@O                                                @>;!D/;E@
              8!=T;O@H      !=';'R$07#$50                                           O@      @    O@    ?9;M+5;E@   E@;J+/;E@                                                                                                                           8!=T;O@H                           E@;J+/;E@
              8!=T;O@L      !=';')$6#/$F1#$<5'P+5-G6                                L@      @    L@    EH;)-";?>   @E;!D/;E@                                                                                                                     8!=T;O@L                                    @E;!D/;E@
       G.,&'&"%E(6L@@2%#(UL&'=&.RVG%$"+
         8UW!/;O@>          R$%-'U$/N'8<<G$50'37-N                                  I@      @    I@    @H;3-D;?>   @E;M+5;E@                                                                                     8UW!/;O@>                                         @E;M+5;E@
         8UW!/;O?@          8<//$N</6'#<'.AA$"-'_'V-GA+/-'U1$GN$50                  =@      @    =@    EH;)-";?>   E@;4-F;E@                                                                                                                   8UW!/;O?@                         E@;4-F;E@
         8UW!/;O??          S1+/N7<16-                                              E@      @    E@    @H;4-F;E@   @=;J+/;E@                                                                                                                                8UW!/;O??                @=;J+/;E@
                                                                                                                                                                                                                                                                                                                                        Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 16 of 17




  !"#$"%&#"'%(%)*+,-.+)/                      !"#1+G                    8/$#$"+G                                                              *+,-./0!012,3!40                                                                                                                 !0+0$='(
  &#"#%&#"'%(!"#$%&'$()                       2-,+$5$50                 J$G-6#<5-                                                                                                                                                                                              (=%23%)4
  0-1%&#"'%(!"($%&'$()                                                                                                                         ,56'&77!2896;<76                                                                                                                "(?#@?
                                                                                                                                                                                                                                                                                                                                        PageID 70
Case 1:21-cv-01213-STA-jay Document 1-2 Filed 12/29/21 Page 17 of 17   PageID 71
